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             EXHIBIT 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ERIC MICHAEL ROSEMAN, ALEXANDER
 LEE, and WILLIAM VAN VLEET, individually
 and on behalf of others similarly situated,                   Case No. 14-CV-2657 (DLC)
                                                               (SDA)
                                 Plaintiffs,

                   v.                                                       ECF Case


 BLOOMBERG L.P.,


                                 Defendant.



                         SETTLEMENT AGREEMENT AND RELEASE

                  This Settlement Agreement and Release (the “Agreement”) is entered into by and
among Eric Michael Roseman, Alexander Lee, and William Van Vleet (the “Named Plaintiffs”),
individually and on behalf of the classes of individuals they represent (collectively referred to as
the “Qualified Class Members”), and Bloomberg L.P. (“Bloomberg” or “Defendant”). The
Named Plaintiffs and Bloomberg shall be collectively referred to as the “Parties.”

1.     RECITALS AND BACKGROUND

                  WHEREAS, a Class Action and Collective Action Complaint was filed in the
above-captioned action (the “Litigation”) on April 14, 2014 and subsequently amended during
the Litigation;

                  WHEREAS, the operative amended complaint asserted claims against
Bloomberg under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), the New
York Labor Law (“NYLL”), and California law for the alleged failure to pay certain overtime
amounts to the Named Plaintiffs and all other “Analytics Representatives” who allegedly are
similarly situated;




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               WHEREAS, on April 17, 2015, the Court conditionally certified an FLSA
collective action,

               WHEREAS, pursuant to Rule 23 of the Federal Rules of Civil Procedure, the
Court certified a NYLL class on September 21, 2017 and a California law class on September
25, 2017, and appointed Getman, Sweeney & Dunn PLLC (“Class Counsel”) as class counsel;

               WHEREAS, pursuant to Rule 23, NYLL and California class members were
issued Notice of the class action in or around December 2017;

               WHEREAS, the purpose of this Agreement is to settle fully and finally all wage
and hour claims by Qualified Class Members against Defendant to the extent described herein;

               WHEREAS, Defendant denies all of the allegations made by Plaintiffs in the
Litigation, and denies any and all liability and damages to anyone with respect to the alleged facts
or causes of action asserted in the Litigation;

               WHEREAS, on April 20, 2018, the Parties engaged in an in-person mediation
under the direction of Magistrate Judge Stewart D. Aaron, and thereafter reached a settlement
resulting in this Agreement;

               WHEREAS, on April 20, 2018, the Parties confirmed this settlement in open court
before Magistrate Judge Stewart D. Aaron, and on April 23, 2018, the Parties confirmed this
settlement in open court before District Judge Denise L. Cote and Judge Cote ordered that this
Agreement be submitted for the Court’s approval by June 15, 2018 (subsequently extended to
June 19, 2018);

               WHEREAS, without admitting or conceding any liability or damages whatsoever
and without admitting that wage and/or overtime amounts improperly were withheld from any
employees, and to avoid the burden, expense, and uncertainty of continuing the Litigation,
Bloomberg has agreed to settle the Litigation on the terms and conditions set forth in this
Agreement;

               WHEREAS, Class Counsel has analyzed and evaluated the merits of the claims
made against Bloomberg in the Litigation, and the impact of this Agreement on Qualified Class


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Members based upon its analysis and evaluation of a number of factors (including extensive
documentation), and recognizing the risks of continued litigation, including the possibility that
the Litigation, if not settled now, might result in no recovery or a recovery that is less favorable
and that would not occur for several years, Class Counsel is satisfied that the terms and
conditions of this Agreement are fair, reasonable and adequate, representing the litigation-risk
adjusted fair settlement value of this case, and that this Agreement is in the best interest of the
Qualified Class Members;

               NOW THEREFORE, in consideration of the mutual covenants and promises set
forth in this Agreement, as well as the good and valuable consideration provided for herein, the
Parties hereto agree to a full and complete settlement of the Litigation on the following terms and
conditions:


2.       DEFINITIONS

               The defined terms set forth in this Agreement have the meanings ascribed to them
below.
         2.1   Agreement. “Agreement” means this Settlement Agreement and Release.

         2.2   Bloomberg’s Counsel. “Bloomberg’s Counsel” means Jones Day.

         2.3   California Class Members. “California Class Members” means all San
Francisco-based employees to hold a Covered Position during the period from December 3, 2011
through the Execution Date who were agreed upon by the Parties as part of the class at the time
of the execution of the Term Sheet and whose UUID numbers are listed in Exhibit F.

         2.4   Class Counsel. “Class Counsel” means Getman, Sweeney & Dunn, PLLC.

         2.5   Class Members. “Class Members” means all Plaintiffs, NYLL Class Members,
and California Class Members.

         2.6   Class Notice. “Class Notice” means the Court-approved Notice of Class Action
Settlement to be mailed to Qualified Class Members, in the form attached hereto as Exhibit A or
a form that has no substantive changes from Exhibit A.



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       2.7     Court. “Court” means the United States District Court for the Southern District
of New York.

       2.8     Covered Position. “Covered Position” means a position held by an Analytics
Representative in Bloomberg’s Analytics Department who was classified as exempt with
annualized compensation of less than $100,000 through 2016 and less than $134,004 from 2017
forward, and holding one of the following job titles/codes: ADSK Rep*Generalist/2200; CSvc
Rep (Gen)/11684; Advanced Specialist ADSK/2277; CSvc Rep Advd/11143; ADSK
REP*Specialist/2279; CSvc Rep/11139; ADSK Rep Training/2635; CSvc Rep Training/11149;
ADSK Rep ET*FI/2653; CSvc Rep (ET FI)/11686; CSvc Rep Advd (ETFI)/11760; Advanced
Specialist ADSK*Exp/2691; CSvc Rep Advd Exp/11145; ADSK Rep*Specialist Exp/2693;
CSvc Rep EXP/11147; ADSK Rep ET*FX/2794; CSvc Rep (ET FX)/11687; ADSK Rep
ET*EQ/2841; CSvc Rep (ET EQ)/11688; Advanced Specialist ET*EMS/2885; CSvc Rep Advd
(ET EMS)/11759; Advanced Specialist ET*FX/2886; ADSK Generalist *Esp/2692; Trade Desk
Analyst/11624; Trade Desk Escalation/11627; Sales/Analytics/1124; ADSK Rep
Training*Exp/2835 or Tech Support Assoc/11602.

       2.9     Cy Pres Recipients. “Cy Pres Recipients” means Make the Road and The
Consortium for Worker Education.

       2.10    Days. “Days” means calendar days unless otherwise specified.

       2.11    Effective Date. “Effective Date” shall be when the Court has granted Final
Approval and either (a) upon timely appeals, the United States Court of Appeals for the Second
Circuit and/or the United States Supreme Court, has declined to consider, affirmed, or otherwise
approved the Court’s Final Approval Order and the applicable date for seeking further appellate
review has passed; or (b) the applicable date for seeking appellate review of Final Approval has
passed (and cannot be extended) without timely appeal or request for review having been made.

       2.12    Employer Portion Payroll Taxes. “Employer Portion Payroll Taxes” means the
employer’s share of applicable payroll taxes and related withholdings.

       2.13    Errors and Omissions Fund. “Errors and Omissions Fund” means the fund
established by the Parties in order to correct any under-allocation to a Qualified Class Member.


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The Errors and Omissions Fund will be funded by any Settlement Checks that remain uncashed
at the end of the Payout Period prior to distribution to the Cy Pres Recipients.

       2.14    Execution Date. “Execution Date” means the date by which Bloomberg, Class
Counsel, and the Named Plaintiffs have all signed this Agreement, or have been deemed to have
signed by later ruling of the Court should any party refuse to sign, whichever is earlier.

       2.15    Fairness Hearing. “Fairness Hearing” means the hearing in the litigation on
Motion for Judgment and Final Approval (as such term is defined in Section 8.1 herein).

       2.16    Final Approval. “Final Approval” shall mean the Court’s entry of an order and a
judgment in the forms attached hereto as Exhibits D and E, or forms that have no substantive
changes from Exhibits D and E, granting final approval to this Agreement, resolving all requests
for attorney’s fees, costs, and Service Awards, and dismissing the Litigation with prejudice.

       2.17    Income Withholding and Employee Portion Payroll Taxes. “Income
Withholding and Employee Portion Payroll Taxes” means Qualified Class Members’ share of
applicable payroll taxes, including, without limitation, federal, state, and local income tax
withholding and the employee portion of FICA, Medicare, and any applicable state or local
employment taxes.

       2.18    Litigation. “Litigation” means the above-captioned case.

       2.19    Net Settlement Amount. “Net Settlement Amount” means the Settlement
Amount to be paid by Bloomberg pursuant to this Agreement less: (1) any Court-approved
attorneys’ fees and costs for Class Counsel, including all fees and expenses of the Settlement
Administrator; and (2) any Court-approved Service Awards to the Named Plaintiffs, Trial
Witnesses, and/or Non-Testifying Witnesses.

       2.20    Non-Testifying Witnesses. “Non-Testifying Witnesses” means Alexandra
Betesh, Matthew Renny, Mary-Lillian Johnson, Amanda Lownes, Andrew Krieger, and
Aleksander Leyfman, each of whom was listed on Plaintiffs’ final trial witness list, and each was
deposed in this case and/or was fully participatory and prepared to testify at trial if called.




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       2.21      NYLL Class Members. “NYLL Class Members” means all New York-based
employees to hold a Covered Position during the period from April 14, 2008 through the
Execution Date who were agreed upon by the Parties as part of the class at the time of the
execution of the Term Sheet and whose UUID numbers are listed in Exhibit G.

       2.22      Opt-Outs. “Opt-Outs” refers to the sixty-two (62) individuals who either (i)
timely submitted to Class Counsel a signed Court-approved form indicating their desire to be
removed from the Litigation during the Court-ordered opt-out period following certification of
the NYLL and California classes, or (ii) submitted such forms to Class Counsel after the close of
the Court-ordered opt-out period, but whose removal from the Litigation was stipulated by the
Parties and so-ordered by the Court.

       2.23      Payout Period. “Payout Period” means the period ending one (1) year from the
date the Settlement Checks are first mailed by the Settlement Administrator or up to thirty (30)
days thereafter to the extent any replacement or subsequent Settlement Checks remain payable
after one (1) year from the date the Settlement Checks are first mailed by the Settlement
Administrator.

       2.24      Plaintiff(s). “Plaintiffs” means the Named Plaintiffs and the following FLSA
Plaintiffs: Christina Alvira, Alexandra Betesh, Clark Bohne, Joseph M. Cavallaro, Jessica Chen,
Christian Clark, Michael Coldwell, Michael Creegan, Michael Giambanco, Tyler Held, Mary
Lillian Johnson, Andrew H. Krieger, Jacob Krushel, Aleksander Leyfman, Jonathan Litchford,
Amanda Lownes, Julisa P. Marmolejos, Alanna R. Olken, Melissa Polinsky, Nicholas
Psulkowski, Matthew Renny, Emma Rudnik, Jonathan Schwebel, Kevin Scoma, Darren A.
Small, Latiqua D. Smith, Brandon K. White, and Dennis J. Wynn.

       2.25      Preliminary Approval. “Preliminary Approval” means the Court’s entry of an
Order in the form attached hereto as Exhibit C, or a form that has no substantive changes from
Exhibit C, preliminarily approving the terms and conditions of this Agreement, and directing the
manner and timing of providing Class Notices to the Qualified Class Members.




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       2.26    Qualified Class Member. “Qualified Class Member” means any Class Member
to the extent he or she is not an Opt-Out, and only for the period of time for which he or she
worked in a Covered Position, and regardless of whether he or she cashes a Settlement Check.

       2.27    Qualified Settlement Fund or QSF. “Qualified Settlement Fund” or “QSF”
means the fund or account established by the Settlement Administrator, within the meaning of
Treasury Regulations § 1.468B-1, et seq.

       2.28    Service Award. “Service Award” means a special payment made to the Named
Plaintiffs, Trial Witnesses, and/or Non-Testifying Witnesses as described in Section 5.3 below as
compensation for the special benefits they conferred upon, and the burdens and risks they
undertook on behalf of, passive Class Members.

       2.29    Settlement. “Settlement” means the disposition of the Litigation and all related
claims effectuated by, and in accordance with the terms of, this Agreement.

       2.30    Settlement Administrator. “Settlement Administrator” means the organization,
retained by the Parties, responsible for the settlement administration process as provided herein.

       2.31    Settlement Amount. “Settlement Amount” means Fifty-Four Million Five
Hundred Thousand Dollars and No Cents ($54,500,000), which is the maximum gross amount to
be paid by Bloomberg as provided by this Agreement (except for Bloomberg’s share of payroll
taxes under applicable tax law). Under no circumstances shall Bloomberg be required to pay any
amount greater than the Settlement Amount and its share of payroll taxes.

       2.32    Settlement Checks. “Settlement Checks” means checks issued to Qualified
Class Members by the Settlement Administrator to pay each Qualified Class Member their
respective Settlement Share from the Net Settlement Amount, as well as any subsequent or
replacement checks issued during the Payout Period.

       2.33    Settlement Forms. “Settlement Forms” refers to the Class Notice to Qualified
Class Members (Exhibit A hereto) and the Change of Address Form (Exhibit B hereto).




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       2.34    Settlement Share. “Settlement Share” means each Qualified Class Member’s
share of the Net Settlement Amount as provided for in this Agreement as calculated by the Class
Counsel in accordance with Section 5.4(D)(5) below and Exhibit H hereto.

       2.35    Term Sheet. “Term Sheet” means the document executed by the Parties on April
20, 2018, and which forms the basis of this Agreement and which supplies the process by which
any disputed terms herein shall be resolved.

       2.36    Trial Witnesses. “Trial Witnesses” means Tyler Held, Jonathan Litchford,
Joseph Cavallaro, and Nicholas Psulkowski.


3.     SETTLEMENT ADMINISTRATOR

       3.1     Retainer of the Settlement Administrator. The Parties agree to Settlement
Services, Inc. being named as the Settlement Administrator. The fees and expenses of the
Settlement Administrator shall be paid exclusively by Class Counsel, but may be included in
Class Counsel’s request for reimbursement of litigation expenses pursuant to Section 5.7.3. The
Settlement Administrator shall be required to agree in writing to treat information it receives or
generates as part of the settlement administration process as confidential by signing Exhibit A to
the Stipulation Governing the Protection of Confidential Material (“Stipulated Protective Order”)
signed by the Parties. The Settlement Administrator also shall be required to agree in writing to
destroy or return all confidential information received from the Parties at the conclusion of its
responsibilities in the matter. In addition, the Settlement Administrator shall be required to agree
in writing to use such information solely for purposes of settlement administration in connection
with the Settlement. The Parties will have equal access to the Settlement Administrator.

       3.2     Responsibilities of the Settlement Administrator. The Settlement
Administrator will be responsible for generating and mailing the Settlement Forms to Qualified
Class Members; tracking and updating Qualified Class Member addresses; distributing the
Settlement Checks and the Service Award(s); promptly forwarding copies of Change of Address
forms and any documents in connection with a Qualified Class Member’s efforts to object to the
Settlement to Class Counsel and Bloomberg’s Counsel, and providing copies of cashed
Settlement Checks (including the endorsement on the back of the Settlement Check) to Class


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Counsel and Bloomberg’s Counsel. The Settlement Administrator will provide regular reports to
the Parties, no less frequently than every two (2) weeks, regarding the status of the mailing of the
Settlement Forms to Qualified Class Members, any objections received, the settlement
administration process, distribution of the Settlement Checks, completed Change of Address
forms, and other pertinent information.

               The Settlement Administrator will also be responsible for establishing and
administering the QSF; calculating and withholding Income Withholding and Employee Portion
Payroll Taxes from the back pay portion of any payment made to Qualified Class Members;
remitting such withheld Income Withholding and Employee Portion Payroll Taxes to the
appropriate Taxing Authorities; calculating Employer Portion Payroll Taxes from the back pay
portion of any payment made to Qualified Class Members; remitting such Employer Portion
Payroll Taxes to the appropriate Taxing Authorities; preparing and filing all tax returns
necessary for the settlement and the QSF; preparing one or more declarations regarding the
settlement administration process; and fulfilling all tax reporting requirements. The Settlement
Administrator will also be responsible for identifying and providing Qualified Class Members
with tax forms, if any, required to effectuate payment under this Agreement.

               The Settlement Administrator will be responsible for any other duties described
elsewhere in this Agreement.

4.     PRELIMINARY APPROVAL OF SETTLEMENT MOTION

       4.1     As ordered by the Court, the Parties shall submit to the Court a Motion for
Preliminary Settlement Approval (“Preliminary Approval Motion”) on or before June 19, 2018,
which shall include a proposed order (1) granting the Parties’ request to include all Class
Members, with the exception of Opt-Outs, as Qualified Class Members subject to the terms of
this Agreement; (2) granting preliminary approval of the Settlement; (3) approving the
Settlement Forms; (4) granting the Parties’ request that endorsed Settlement Checks be deemed
filed with the Court in satisfaction of the requirements of 29 U.S.C. § 216(b); and (5) scheduling
the Final Approval Hearing and approving the Settlement. The Parties shall also file with the
Preliminary Approval Motion a proposed Preliminary Approval Order agreed upon by the
parties, which is attached hereto as Exhibit C, and a proposed Class Notice, which is attached


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hereto as Exhibit A. To the extent the Parties disagree as to the content of the Preliminary
Approval Motion, they agree that they shall utilize separate sections where there are areas of
disagreement.

       4.2      The Preliminary Approval Motion also will seek (i) to establish the period sixty
(60) days following the mailing of the Settlement Forms as the period during which Qualified
Class Members may provide objections to this Agreement, and (ii) to set a date for a Fairness
Hearing for Final Approval of the Settlement before the Court. In accordance with the Class
Action Fairness Act, the Fairness Hearing shall be set for a date no earlier than 120 days from
the filing of the Preliminary Approval Motion.

       4.3      If the Court denies the Preliminary Approval Motion, the Parties agree to confer
in good faith about jointly seeking reconsideration of the ruling or jointly seeking Court approval
of a renegotiated settlement.

5.     SETTLEMENT TERMS

       5.1      Settlement Amount. Within seven (7) days after the Effective Date, Bloomberg
agrees to pay into the QSF the Settlement Amount. The Settlement Amount shall fully resolve,
satisfy and encompass all payments to Qualified Class Members; any Service Awards; and Class
Counsel’s attorneys’ fees and expenses, including all attorneys’ fees and expenses incurred to
date and to be incurred in preparing Settlement documents, securing trial and appellate court
approval of the Settlement, attending to the administration of the Settlement, paying the
Settlement Administrator’s fees and expenses, and obtaining dismissal of the action.
Bloomberg’s share of payroll taxes is not included in the Settlement Amount, but shall be paid
into the QSF at the same time as the Settlement Amount.

       5.2      Settlement Amounts Payable as Attorneys’ Fees and Expenses. At the
Fairness Hearing and through a separate motion to be filed alongside the Parties’ Motion for
Judgment and Final Approval, Class Counsel will petition the Court for an award of attorneys’
fees and will seek reimbursement of actual litigation costs and expenses to be paid from the
Settlement Amount. Bloomberg will not oppose an application by Class Counsel for fees up to
twenty-five (25) percent of the Settlement Amount plus reasonable costs, to be paid out of, and



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deducted from, the Settlement Amount. Class Counsel shall not seek any further fees or costs in
connection with this Litigation. Bloomberg shall have no additional liability for Class Counsel’s
attorneys’ fees and costs or the Settlement Administrator’s fees and costs beyond any subset of
the Settlement Amount as may be awarded by the Court, or as a result of an appeal, and in no
event shall Bloomberg be required to pay to Qualified Class Members or Class Counsel, in the
aggregate, any amount greater than the Settlement Amount. If the Court denies any portion of
Class Counsel’s requested fees or costs, neither Qualified Class Members, nor Class Counsel
may seek payment of such portion from Bloomberg. If the Court, or an appellate court, denies
any portion of Class Counsel’s requested fees or costs, the difference between the requested fees
or costs and the final Court-approved fees or costs shall become part of the Net Settlement
Amount and distributed pro rata to Qualified Class Members as part of their Settlement Shares.
Within five (5) days of the entry of any such Court order reducing or denying any amount of the
requested fees or costs, Class Counsel shall provide to the Settlement Administrator and
Bloomberg’s Counsel a recalculation of the Settlement Share Calculation. The Settlement
Administrator shall provide Class Counsel with an IRS Form 1099 with respect to its awarded
attorneys’ fees and costs.

       5.3     Service Awards to Named Plaintiffs, Trial Witnesses, and Non-Testifying
Witnesses. Bloomberg will not oppose Service Awards of an amount up to $25,000 to be paid
out of the Settlement Amount in the QSF to each of the Named Plaintiffs, in addition to their
Settlement Shares; up to $10,000 to each of the Trial Witnesses, in addition to their Settlement
Shares; and up to $5,000 to each of the Non-Testifying Witnesses, in addition to their Settlement
Shares. Only the Named Plaintiffs, Trial Witnesses, and Non-Testifying Witnesses will be
entitled to receive a Service Award under this Agreement. The Settlement Administrator shall
provide the Named Plaintiffs, Trial Witnesses, and Non-Testifying Witnesses with an IRS Form
1099 with respect to any Service Award. If the Court, or an appellate court, denies any portion
of the Named Plaintiffs’, Trial Witnesses’, or Non-Testifying Witnesses’ requested Service
Awards, the difference between the requested Service Award and the final Court-approved
Service Award shall become part of the Net Settlement Amount and distributed pro rata to
Qualified Class Members with the Settlement Shares. Within five (5) days of the entry of any
such Court order reducing or denying any amount of the requested Service Awards, Class



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Counsel shall provide to the Settlement Administrator and Bloomberg’s Counsel a recalculation
of the Settlement Share Calculation.

                The Service Awards shall constitute special awards to Named Plaintiffs, Trial
Witnesses and Non-Testifying Witnesses and shall not be considered as a payment of overtime,
salary, wages, and/or compensation to any individual under the terms of any company benefit
plan or for any purpose except for tax purposes as provided in Section 5.5. The receipt of
Service Awards shall not affect the amount of, contribution to, or benefit under any company
benefit plan.
       5.4      Settlement Formula. Class Counsel shall calculate the Settlement Shares
according to the following process (the “Settlement Formula”):

                (A)    Only Qualified Class Members will be entitled to receive payment for a
Settlement Share under this Agreement. Opt-Outs will not receive a Settlement Share and will
not be bound by the Settlement.

                (B)    Payments of Settlement Shares to Qualified Class Members shall not be
considered as a payment of overtime, salary, wages, and/or compensation to any Qualified Class
Member under the terms of any company benefit plan or for any purpose except for tax purposes
as provided under Section 5.5. The receipt of settlement payments shall not affect the amount of
contribution to or level of benefits under any company benefit plan.

                (C)    The allocation of Settlement Shares will be made from the Net Settlement
Amount.

                (D)    Each Qualified Class Member shall receive a Settlement Share calculated
as the pro rata share of the Net Settlement Amount, calculated on the “Basis of Calculation” as
described below, for all work weeks in which he or she held a Covered Position in San Francisco
or New York within the period applicable to his or her claims (the “Applicable Period”). The
Applicable Periods are as follows:

                (1)    For NYLL Class Members: April 14, 2008 through the Execution Date.

                (2)    For California Class Members: December 3, 2011 through the Execution
                       Date.


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               (3)    For Class Members who are both NYLL Class Members and California
                      Class Members:

                      (a)     April 14, 2008 through the Execution Date for the time period(s) as
                              to which Bloomberg’s records indicate the Class Member was
                              based in New York City, and

                      (b)     December 3, 2011 through the Execution Date for the time
                              period(s) as to which Bloomberg’s records indicate the Class
                              Member was based in San Francisco.

               (4)    For Plaintiffs who are not NYLL Class Member or California Class
                      Members, the Applicable Period begins the date three (3) years prior to the
                      date on which Class Counsel electronically filed that individual’s signed
                      notice of consent to sue and runs through the Execution Date.

               (5)    Settlement Formula:

                      (a)     Each Qualified Class Member’s Settlement Share shall be
                              determined according to the formula set forth in Exhibit H as
                              calculated by Class Counsel (in agreeing to this formula, which
                              implements the Parties’ compromise as to the resolution of claims,
                              Bloomberg does not admit that any Class Member’s liability or
                              damages claim has merit).

                      (b)     Any under-allocations to Qualified Class Members will be
                              corrected to the extent possible on a pro rata basis using the Errors
                              and Omissions Fund. The Errors and Omissions Fund will be
                              funded by any Settlement Checks that remain uncashed at the end
                              of the Payout Period, prior to distribution to the Cy Pres
                              Recipients.

       5.5     Tax Characterization.

               (A)    In connection with Bloomberg’s transfer of funds into a QSF within the
meaning of Treasury Regulation § 1.468B-1, et seq., the following definitions shall apply:

              (1)     Bloomberg shall be a “transferor” within the meaning of Treasury
                      Regulation §1.468B-1(d)(1) to the QSF(s) with respect to the amounts
                      transferred;

              (2)     The Settlement Administrator shall be the “administrator” of the QSF
                      within the meaning of Treasury Regulation § 1.468B-2(k)(3), responsible
                      for causing the filing of all tax returns required to be filed by or with
                      respect to the QSF, paying from the QSF any taxes owed by or with
                      respect to the QSF, and complying with any applicable information


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                     reporting or tax withholding requirements imposed by Treasury Regulation
                     § 1.468B-2(l)(2) or any other applicable law on or with respect to the
                     QSF, and in accordance with this Agreement; and

              (3)    Bloomberg and the Settlement Administrator shall reasonably cooperate in
                     providing any statements or making any elections or filings necessary or
                     required by applicable law for satisfying the requirements for qualification
                     as a QSF, including the relation-back election within the meaning of
                     Treasury Regulation § 1.468B-1(j).


              (B)    For tax purposes, with respect to the payments of Settlement Shares paid
to Qualified Class Members:

              (1)    Fifty (50) percent of each Qualified Class Member’s Settlement Share will
                     be deemed wages and subject to W-2 reporting (the “Wage Portion”). The
                     other fifty (50) percent of each Qualified Class Member’s Settlement
                     Share will be deemed non-wage income (the “Non-Wage Portion”) and
                     reported on IRS Form 1099. Defendant shall be responsible for all
                     employer-paid and due taxes on the Wage Portions of this Settlement,
                     including FICA, FUTA and state unemployment. The Settlement
                     Administrator, as the administrator of the QSF making such payments,
                     shall report Qualified Class Members’ Wage Portion on IRS Form W-2,
                     which will be net of applicable tax deductions and withholdings in
                     accordance with applicable IRS, state and local rules, guidance and
                     formulas, including payroll taxes applicable to such payments. The Non-
                     Wage Portion, as well as any Service Awards paid to the Named Plaintiffs,
                     Trial Witnesses, and Non-Testifying Witnesses, will be reported on IRS
                     Form 1099 in accordance with applicable IRS, state and local rules,
                     guidance and formulas. The Settlement Administrator shall provide to
                     Bloomberg a calculation (in reasonable detail) of the Employer Portion
                     Payroll Taxes due with respect to the Wage Portions of the Settlement
                     Payments no later than fifteen (15) days prior to the date that Bloomberg
                     is required to fund the QSF. No later than five (5) days prior to such date,
                     the Settlement Administrator shall revise such calculation to take into
                     account any reasonable comments to such calculation timely delivered by
                     Bloomberg. Bloomberg shall pay an amount equal to the Employer
                     Portion Payroll Taxes determined pursuant to this Section 5.5(B)(1) into
                     the QSF at the time Bloomberg pays the Settlement Amount into the QSF,
                     for remittance by the Settlement Administrator to the applicable Taxing
                     Authorities.

              (2)    In the event that it is subsequently determined by the U.S. Internal
                     Revenue Service or any other taxing authority that any payee owes any
                     additional taxes with respect to any money distributed under this
                     Agreement, it is expressly agreed that liability for such taxes rests


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                       exclusively with that payee and that Bloomberg will not be responsible for
                       the payment of such taxes, including any interest and penalties.

                (C)    The Settlement Administrator, as the administrator of the QSF making
such payments, shall report to Class Counsel and to the Taxing Authorities on an IRS Form
1099, under Class Counsel’s federal taxpayer identification number, the fees and costs paid to
Class Counsel pursuant to Section 5.2, and such payments will not be subject to backup or other
tax withholding unless required by law, as determined by the Settlement Administrator as
administrator of the QSF making such payments. Class Counsel shall provide a validly
completed current IRS Form W-9 to the Settlement Administrator.

                (D)    Bloomberg shall have no liability or responsibility whatsoever for taxes of
the QSF, any Class Member, Class Counsel, or any other person or the filing of any tax returns,
information reports or other documents with U.S. Internal Revenue Service or any other taxing
authority. Recipients of any payments made pursuant to this Agreement will be solely
responsible for all taxes, interest and penalties owed by such recipients with respect thereto, and
will indemnify, defend, and hold Bloomberg and the Settlement Administrator harmless from
and against any and all taxes and interest as a result of such recipient’s failure to timely pay such
taxes.

                (E)    Class Counsel and the Named Plaintiffs, on behalf of Qualified Class
Members, acknowledge and agree that Bloomberg has provided no advice as to the taxability of
the payments received pursuant to this Agreement.

          5.6   Settlement Share Calculation.

                (A)    Bloomberg has provided Class Counsel with badge data, time in role data
and payroll data for the Qualified Class Members for each of their Applicable Periods through
December 30, 2017. Within 14 days after the Execution Date, Bloomberg will provide Class
Counsel with supplemental time in role data and payroll data for the Qualified Class Members
for each of their Applicable Periods from December 31, 2017 through the Execution Date. This
data, and any other data provided by Bloomberg to Class Counsel or the Settlement
Administrator, shall incorporate prior agreements between the Parties as to the content of the
data and shall be conclusively presumed to be accurate and considered Confidential pursuant to


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the Stipulated Protective Order signed by the Parties and the Settlement Administrator’s
agreement to treat such information confidential under Section 3.1.

               (B)     Within fourteen (14) days after Class Counsel receives the supplemental
data referred to in section 5.6(A) above, Class Counsel shall submit to Bloomberg and the
Settlement Administrator calculations of Settlement Shares for all Qualified Class Members
utilizing the Settlement Formula described in Section 5.4 (the “Settlement Share Calculations”).

               (C)     Bloomberg and/or the Settlement Administrator shall inform Class
Counsel within five (5) days following the receipt of the Settlement Share Calculations if they
have any proposed revisions to the Settlement Share Calculations. All Settlement Share
Calculations for which Bloomberg and the Settlement Administrator propose no revisions within
five (5) days become Preliminary Settlement Share Calculations. All Settlement Share
Calculations that the Parties jointly revise become Preliminary Settlement Share Calculations
upon the joint submission of such revisions to the Settlement Administrator.

               (D)     To the extent the Parties have a disagreement over proposed revisions to
the Settlement Share Calculations, they shall work in good faith to resolve such differences and
shall only seek Court intervention to resolve such differences in extraordinary circumstances. If
sought, the Parties shall seek Court intervention to resolve differences in the Settlement Share
Calculations within five (5) days after any such difference arises. Class Counsel shall recalculate
the Settlement Share Calculations in accordance with the Court’s decision on any disputes within
five (5) days of the Court’s decision. At the time of such recalculation, the Settlement Share
Calculations will become Preliminary Settlement Share Calculations.

               (E)     If, in the order granting Final Approval, the Court approves the requests
pursuant to Sections 5.2 and 5.3 for Service Awards and Class Counsel’s fees and expenses, the
Preliminary Settlement Share Calculations (as revised, if applicable, pursuant to Section 5.6(D))
shall become the Final Settlement Share Calculations. If, in the order granting Final Approval,
the Court denies any portion of the requested Service Awards or Class Counsel’s requested fees
and costs, Class Counsel shall, consistent with Sections 5.2 and 5.3, recalculate the Settlement
Share calculations for all Qualified Class Members within five (5) business days of the entry of




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such order, and at the time of the recalculation, they shall become Final Settlement Share
Calculations.

                (F)    Final Settlement Share Calculations are not subject to challenge or change
including by the Class Members except as may be covered by the Errors and Omissions Fund or
by appeal.

       5.7      Payment Dates.

                        5.7.1. Settlement Checks.
                (A)    The Settlement Administrator shall mail the Settlement Checks and
Service Awards within fourteen (14) days of the Effective Date (the “Initial Settlement Checks”).

                (B)    Each Settlement Check will contain the following affirmation above the
signature line on the back of the check:

                “My endorsement of this check acknowledges that I am receiving this
                payment pursuant to the resolution of my claims as a settlement class member
                in Roseman v. Bloomberg LP., Case No. 14-cv-02657 (S.D.N.Y.), and that I
                have opted into the case as a party plaintiff under Section 16(b) of the Fair
                Labor Standards Act. I understand that my claims in this case have been
                resolved and that I have released all claims as fully set forth in the Settlement
                Agreement in this case regardless of whether I endorse or cash this check.”

                (C)    Each Qualified Class Member, regardless of whether such Qualified Class
Member signs, endorses, deposits, cashes or negotiates a Settlement Check or objects to the
Settlement, is bound by all terms and conditions of the Settlement and will be deemed to have
released all Released Claims (as defined in Section 10.1).

                (D)    Initial Settlement Checks shall remain payable for one year from the date
the Initial Settlement Checks are first mailed by the Settlement Administrator. Any subsequent
or replacement checks issued during the Payout Period shall remain payable for as long as the
Initial Settlement Checks remain payable or a period of thirty (30) days, whichever is longer.
Any communication by the Settlement Administrator accompanying any check shall advise the
payee of the period the check will be payable.




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               (E)     The Settlement Administrator will, within two (2) days of the end of the
Payout Period, send to Class Counsel and Bloomberg’s Counsel by both email and overnight
delivery a final list of all Qualified Class Members indicating whether or not each Qualified
Class Member cashed his or her Settlement Check. If any subsequent or replacement checks
were issued and remain payable beyond the Payout Period in accordance with Section 5.7.1(D),
the Settlement Administrator will (1) include that information on the final list, along with the
date until which any such subsequent or replacement checks remain payable; and (2) send to
Class Counsel and Bloomberg’s Counsel by email two (2) days after which any subsequent or
replacement checks remain payable, an updated list indicating whether or not each Qualified
Class Member cashed his or her subsequent or replacement check. The Settlement Administrator
will retain copies and records of cashed Settlement Checks (including the endorsement on the
back of the Settlement Check) and provide to Class Counsel and Bloomberg’s Counsel copies of
cashed Settlement Checks (including the endorsement on the back of the Settlement Check).

               (F)     The Settlement Administrator shall mail any additional checks to correct
any under-allocations to Qualified Class Members after the close of the Payout Period, prior to
distribution to the Cy Pres Recipients. Such checks shall be drawn from the Errors and
Omissions Fund.

                        5.7.2. Attorneys’ Fees and Costs. Payment of Class Counsel’s
attorneys’ fees and costs from the QSF shall be made by the Settlement Administrator to Class
Counsel within fourteen (14) days following the Effective Date.


                        5.7.3. Settlement Administrator’s Fees. Payment of the Settlement
Administrator’s fees shall be made by Class Counsel within thirty (30) days following the
Effective Date, or may be deducted from Class Counsel’s cost reimbursement payment at Class
Counsel’s option.

       5.8     Uncashed Settlement Checks. The Settlement Administrator shall pay the
amount of any Settlement Checks that remain uncashed at the end of the Payout Period (or the
date until which any subsequent or replacement check remains payable) first to fund
underpayments from the Errors and Omissions Fund (to the extent the Parties mutually agree to



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such payment or to the extent the Court directs, upon motion by any Party), and any remaining
funds shall be distributed equally to the Cy Pres Recipients.

6.     CLASS NOTICES

       6.1     Within two (2) days following receipt of the Preliminary Settlement Share
Calculations from Class Counsel, the Settlement Administrator shall provide proofs of the
Settlement Forms for the Parties to review. The Parties must provide any revisions to the
Settlement Forms within two (2) days thereafter.

       6.2     Bloomberg’s Counsel and Class Counsel shall cooperate to compile a list of all
Qualified Class Members and their last known addresses, personal email addresses, and the last
four digits of their Social Security Numbers (where available). Bloomberg’s Counsel and Class
Counsel shall provide this list to the Settlement Administrator within ten (10) days following
Preliminary Approval. This list shall be based on Bloomberg’s available records, except where
Class Counsel has more current information about a Qualified Class Member’s address and/or
personal email address. The Parties agree to consult with the Settlement Administrator prior to
the production date to ensure that the format of the list will be acceptable to the Settlement
Administrator. All data provided should be treated as confidential pursuant to the Settlement
Administrator’s agreement referred to in Section 3.1.

       6.3     Once the Court has granted Preliminary Approval, within two (2) days of
receiving any revisions to the Settlement Forms from the Parties, the Settlement Administrator
will send the Settlement Forms approved by the Court to the Qualified Class Members (Exhibits
A and B) by First Class Mail. The Settlement Administrator will use standard skip tracing
devices to verify the accuracy of all addresses before the initial mailing date to ensure that the
Settlement Forms are sent to all Qualified Class Members at the address most likely to result in
immediate receipt. It will be presumed that if an envelope so mailed has not been returned
within thirty (30) days of the mailing that the Qualified Class Member received the Settlement
Forms. If any envelope so mailed is returned more than thirty (30) days following the mailing,
the Settlement Administrator will treat such envelope in accordance with Section 6.4 of this
Agreement. The mailing of the Settlement Forms as set forth in this paragraph shall be known as
the “First Mailing.”


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        6.4       If an envelope is returned because of an incorrect address, the Settlement
Administrator will promptly, and not later than five (5) days from receipt of the return envelope,
use reasonable diligence to obtain a current address and re-mail the envelope to all such
addresses available. This shall be known as the “Subsequent Mailing.” The Settlement
Administrator will notify Class Counsel and Bloomberg’s Counsel of any Class Notice sent to a
Qualified Class Member that is returned as undeliverable after the First Mailing, as well as any
such Class Notice returned as undeliverable after any Subsequent Mailing(s) as set forth in this
Agreement.

        6.5       The Settlement Administrator will stamp or note the postmark date on the original
of any objections, Change of Address forms, or other documents responsive to Settlement Forms
it receives from Qualified Class Members and shall provide Class Counsel and Bloomberg’s
Counsel with copies of each document received within three (3) days of receipt thereof in order
to facilitate, among other things, filing with the Clerk of the Court.

        6.6       The Settlement Administrator will retain the originals of all Settlement Forms and
originals of all accompanying envelopes, originals of any returned Settlement Forms and the
originals of their accompanying envelopes, and originals of objections and their corresponding
envelopes in its files until such time as the Settlement Administrator is relieved of its duties and
responsibilities under this Agreement.

7.      OBJECTIONS TO SETTLEMENT

        7.1       Qualified Class Members who wish to present objections to the Settlement at the
Fairness Hearing, including objections to Class Counsel’s request for an award of fees and
expenses, must first do so in writing. The statement must include all reasons for the objection
and any reasons not included in the statement will not be considered. The statement must also
include the name, address, and telephone number for the Qualified Class Member making the
objection. A Qualified Class Member’s failure to specify his or her objections in writing in
conformity with the specified time and procedures set forth herein shall be deemed a waiver of
all objections.




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       7.2     To be effective, a written objection must be sent to the Settlement Administrator
via First-Class United States mail, postage prepaid and postmarked no later than a date to be
specified on the Notice. This date will be 60 days after the Settlement Administrator mails the
Settlement Forms. This deadline will not be extended even if the Settlement Administrator sends
a Subsequent Mailing to an updated address. Class Counsel shall be responsible for filing any
objections with the Court as part of the Settlement Administrator’s declaration regarding the
settlement administration process. Notwithstanding the above, no objection will be effective if
not received by the Settlement Administrator prior to twenty (20) days before the Fairness
Hearing.

       7.3     A Qualified Class Member who wishes to appear at the Fairness Hearing must
state his or her intention to do so in writing as part of the objection and failure to so specify will
be deemed a waiver of the right to appear. A Qualified Class Member may withdraw his or her
objections with Court approval consistent with Rule 23. No Qualified Class Member may
appear at the Fairness Hearing to present an objection unless he or she has filed a timely
objection that complies with the procedures provided in this section. No Qualified Class
Member may present an objection at the Fairness Hearing based on a reason not stated in his or
her written objections. Opt-Outs and non-Class Members may not submit objections to the
Settlement.

       7.4     Either party may file with the Court written responses to any filed objections no
later than ten (10) days before the Fairness Hearing or by such other deadline as set by the Court,
or may elect to respond to such objections in the motion and brief in support of final approval, or
orally at the Final Fairness Hearing.

8.     FAIRNESS HEARING AND MOTION FOR FINAL APPROVAL AND
       DISMISSAL

       8.1     Not later than ten (10) days before the Fairness Hearing, the Parties shall move
the Court for final approval of this Agreement (the “Motion for Judgment and Final Approval”),
including (i) a ruling that the Agreement is final, fair, reasonable, adequate, and binding on all
Qualified Class Members; (ii) entry of final judgment in a form agreed to by the Parties and in
accordance with this Agreement; (iii) dismissal of the Litigation with prejudice, subject to the


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Court’s retention of jurisdiction to oversee enforcement of the Agreement; (iv) an order that
Bloomberg transfer all funds due herein to the QSF; (v) an order that the Settlement
Administrator should distribute Settlement Checks from the QSF; and (vi) an order that the
amount of any Settlement Checks that remain uncashed at the end of the Payout Period (or after
the date until which any subsequent or replacement checks remain payable, whichever is later)
and that are not used to fund the Errors and Omissions Fund will be paid equally to the Cy Pres
Recipients. The Parties’ Motion for Judgment and Final Approval will be considered separate
and apart from the Court’s consideration of any applications for attorneys’ fees and costs and/or
Service Awards, and the Court’s ruling on any such separate applications will not terminate this
Agreement or otherwise affect the Court’s ruling on the Motion for Judgment and Final
Approval. To the extent the Parties disagree as to the content of the Motion for Judgment and
Final Approval, they agree that they shall utilize separate sections where there are areas of
disagreement.

       8.2      The Parties have agreed upon a proposed Final Approval Order and a Proposed
Final Judgment, attached hereto as Exhibits D and E.

       8.3      After Final Approval, the Court will have continuing jurisdiction over the
Litigation and the Settlement solely for purposes of (i) enforcing this Agreement, (ii) addressing
settlement administration disputes, and (iii) addressing such post-judgment matters as may be
appropriate under Court rules or applicable law.


9.     EFFECT OF FAILURE TO OBTAIN PRELIMINARY OR FINAL APPROVAL.

                In the event that this Agreement is not approved in its entirety by the Court, and/or
the Court does not grant Preliminary Approval or Final Approval; or in the event that this
Agreement is terminated, cancelled, declared void, or fails to become effective in accordance
with its terms; or if the Effective Date does not occur, the Parties shall proceed as follows:
                       (A)      Bloomberg shall have no obligation to make any payments
 provided for by this Agreement.
                       (B)      The Term Sheet (previously agreed to by the Parties) and this
 Agreement (other than the non-admission provisions in Paragraph 17 of the Term Sheet and this



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Section 9) shall be deemed null and void, and their terms and provisions shall have no further
force or effect.
                       (C)      Neither this Agreement, nor any other related papers or orders, nor
the negotiations leading to the Agreement shall be cited to, used, or deemed admissible in any
judicial, administrative, or arbitral proceeding for any purpose or with respect to any issue,
substantive or procedural.
                       (D)      The Litigation shall proceed without prejudice as if this
Agreement had not been executed, unless the Parties jointly agree to: (1) seek reconsideration or
appellate review of the decision to deny Preliminary Approval or Final Approval in the form
agreed to by the Parties, or (2) attempt to renegotiate the settlement and seek Court approval of
the renegotiated settlement.
                       (E)      The Parties shall not be deemed to have waived any claims,
objections, defenses, or arguments with respect to the issue of class action certification or the
merits of Plaintiffs’ claims in the Litigation or any other issue, but rather shall retain the right to
assert or dispute all claims and allegations, to assert or dispute all applicable defenses, and to
assert or dispute the propriety of class action certification on all applicable grounds.
                       (F)      Any judgment or order entered by the Court in accordance with
the terms of this Agreement shall be treated as vacated, nunc pro tunc.
                       (G)      Notwithstanding any other provision of this Agreement, no order
of the Court, or modification or reversal on appeal of any order of the Court, reducing the
amount of any attorneys' fees or costs to be paid to Class Counsel, or reducing the amount of
any Service Award, shall constitute grounds for cancellation or termination of this Agreement or
grounds for limiting any other provision of the judgment agreed upon by the Parties. Class
Counsel retains and reserves all rights to appeal or seek reconsideration of any order of the
Court reducing the amount of attorneys’ fees or costs to be paid to Class Counsel and/or any
order of the Court reducing the amount of any Service Award. In such event, the Settlement
Administrator shall hold all funds in the Qualified Settlement Fund until any appeal is finally
resolved.
                       (H)      If this Agreement is terminated after Class Notice is sent, or if for
any other reason the Effective Date does not occur after Class Notice is sent, the Settlement
Administrator shall provide notice to all Qualified Class Members informing them that the



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 settlement did not become effective, that as a result, no payments will be made to Qualified
 Class Members under this Agreement, and that the Litigation will continue, along with any
 additional information jointly agreed to by the Parties. Such notice shall be mailed by the
 Settlement Administrator via United States First Class Mail, postage prepaid, to the addresses to
 which Class Notice was sent or re-mailed, or to any updated addresses known to the Parties or
 Settlement Administrator. The costs of such mailing shall be split equally between the Parties.


10.     RELEASE OF CLAIMS

        10.1    Named Plaintiffs and Qualified Class Members. By operation of Final
Approval, and except as to such rights or claims as may be created by this Agreement, each
Qualified Class Member forever and fully releases Bloomberg and/or its general partner,
Bloomberg Inc., and every and all of their present and former owners, partners, stockholders,
predecessors, successors, assigns, agents, directors, officers, employees, representatives,
attorneys, parents, divisions, subsidiaries, affiliates, benefits plans, plan fiduciaries, and/or
administrators, and all persons acting by, through, under or in concert with any of them,
including any party that was or could have been named as a defendant in the Litigation
(collectively, the “Released Parties”), from all claims that are based upon, arise out of, or relate
to the facts, acts, transactions, occurrences, events, or omissions alleged in the Litigation and that
arose during the time that such individual was employed by Bloomberg in a Covered Position up
until the Execution Date, including but not limited to wage and hour claims, rights, demands,
liabilities and causes of action that were asserted or could have been asserted, under federal,
state, local, or other applicable law in the Litigation (the “Released Claims”). The Released
Claims include, without limitation, all claims under any federal, state and/or local or other wage
and hour laws, whether known or unknown, asserted or unasserted, of any kind whatsoever for
wages, damages, unpaid costs, penalties, liquidated damages, punitive damages, interest for
unpaid regular or overtime wages, any related wage and hour claims, all related derivative
benefit claims (both ERISA and non-ERISA benefits), interest on such claims, and attorneys’
fees and costs related to such claims, whether at common law, pursuant to statute, ordinance, or
regulation, in equity or otherwise, from the beginning of time through the Execution Date. The
Released Claims include without limitation claims asserted in the Litigation and any other claims
based on alleged misclassification under state or federal law governing overtime pay; failure to


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pay overtime; exempt status; denial of meal periods and rest breaks; denial of waiting time; on-
call, standby time, or reporting time payments; denial of spread of hours pay; failure to pay
wages upon termination; failure to provide itemized wage statements; failure to make payments
due to Qualified Class Members had they been classified as nonexempt; failure to provide
benefits or benefit credits; failure to keep records of hours worked or compensation due; and
penalties for any of the foregoing, including claims under the FLSA, and the laws of any state.

       10.2    Class Counsel. Upon the payment of all sums due herein, Class Counsel and
Named Plaintiffs, on behalf of the Qualified Class Members collectively and each individual
Qualified Class Member, hereby irrevocably and unconditionally release, acquit, and forever
discharge any claim that they may have against Defendant for attorneys’ fees or costs/expenses
associated with Class Counsel’s representation of Plaintiffs and/or Class Members in this
Litigation. Class Counsel further understand and agree that any fee payments approved by the
Court, or on appeal, will be the full, final and complete payment of all attorneys’ fees and
costs/expenses associated with Class Counsel’s representation of these individuals.

       10.3    Waiver of Unknown Claims. It is the desire of the Parties to fully, finally, and
forever settle, compromise, and discharge all Released Claims (as defined in Section 10.1) that
were or could have been asserted against the Released Parties in this litigation, whether known or
unknown, liquidated or unliquidated. Qualified Class Members may hereafter discover facts in
addition to or different from those which they now know or believe to be true with respect to the
subject matter of the Released Claims, but upon the entry of the order granting Final Approval,
Qualified Class Members shall be deemed to have, and by operation of the Judgment shall have,
fully, finally, and forever settled and released any and all Released Claims, known or unknown,
suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden,
which then exist, or heretofore have existed upon any theory of law of equity now existing or
coming into existence in the future accruing from the beginning of time through the Execution
Date, including, but not limited to, conduct which is negligent, intentional, with or without
malice, or a breach of any duty, law or rule, without regard to the subsequent discovery or
existence of such different or additional facts. With respect to the Released Claims, any
Qualified Class Members who are California Class Members waive all rights and benefits




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afforded by Section 1542 of the Civil Code of the State of California, understanding the
significance of that waiver. Section 1542 provides:

                A general release does not extend to claims which the creditor does
                not know or suspect to exist in his or her favor at the time of
                executing the release, which if known by him or her must have
                materially affected his or her settlement with the debtor.

11.    CONFIDENTIALITY

       11.1    Except to the extent necessary to seek Court approval of this Settlement, as
otherwise required by court or governmental order, subpoena or as otherwise required by law, or
to address any disputes with respect to this Agreement, the Parties, Class Counsel, and
Bloomberg’s Counsel will keep the settlement negotiations leading up to this Agreement
(“Confidential Settlement Issues”) confidential and they hereafter will not disclose Confidential
Settlement Issues to any person or persons. If required by court or governmental order,
subpoena, or otherwise as required by law to disclose Confidential Settlement Issues, Named
Plaintiffs and Class Counsel will notify Bloomberg’s Counsel prior to making any such
disclosure and permit Bloomberg a reasonable time to object to such disclosure. Class Counsel
is not restricted from discussing Confidential Settlement Issues with Class Members, but may
discuss only public aspects of the Litigation and Agreement with any other clients.

       11.2    The Named Plaintiffs agree that in connection with their assignments at
Bloomberg, they have had access to non-public information and materials concerning the
business affairs of Bloomberg L.P. and its general partner, Bloomberg Inc. and their present or
former partners, managing directors, shareholder, employees, agents, directors, officers, clients,
or other third Parties or the personal affairs of such individuals (“Confidential Information and
Materials”) and that they agreed pursuant to Employee Confidentiality Agreements not to
disclose such Confidential Information and Materials. Named Plaintiffs agree that they will
continue to abide by the obligations in their Employee Confidentiality Agreements.
Notwithstanding the foregoing, the Named Plaintiffs may disclose Confidential Information and
Materials as required by court or governmental order, subpoena, or as otherwise required by law.




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       11.3    The Parties, Class Counsel, and Bloomberg’s Counsel each will be entitled to
obtain injunctive relief to enforce its rights under this section without the necessity of showing
irreparable harm or obtaining a bond.

12.    NO EFFECT ON BENEFITS ENTITLEMENT

               No amounts paid in connection with the Settlement, including any Service Award
or Settlement Shares, are intended to, or will, be taken into account in determining any Class
Member’s rights or benefits under any Bloomberg or vendor benefit plan or program. No Class
Member will use this Agreement as a basis for a request for participation in, or for benefits
under, any such plan or program.

13.    NO EFFECT ON EMPLOYMENT STATUS

               This Agreement and the Settlement are not intended to and do not create a present
employment relationship of any kind between Bloomberg and any Class Member, and do not
constitute an admission that an employment relationship exists at the time of Execution between
Bloomberg and any Class Member. Neither this Agreement, the fact of withholding of taxes
from Settlement Shares, the reporting of such payments, nor any document supporting or
evidencing the Settlement of this Litigation, shall be offered, used or admissible in any
proceeding of any kind for any purpose concerning the employee status of any Class Member.

14.    WAIVER OF APPEALS

               Bloomberg and Named Plaintiffs waive all appeals from the Court’s Final
Approval Order unless (i) the Court modifies the Settlement or (ii) the Court reduces the
amounts to be awarded as Service Awards or Class Counsel’s attorneys’ fees and expenses.

15.    FAIR, ADEQUATE AND REASONABLE SETTLEMENT

               The Parties agree that the Settlement is fair, adequate, and reasonable and will so
represent to the Court.




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16.    BINDING AGREEMENT

               This Agreement is a binding agreement and contains all materially agreed-upon
terms for the Parties to seek a full and final settlement of the Litigation.

17.    MODIFICATION OF AGREEMENT

               This Agreement may not be modified or canceled in any manner except by a
writing signed by Class Counsel and an authorized representative of Bloomberg.

18.    NO RETALIATION

               Bloomberg will not retaliate against any Qualified Class Member for exercising
their rights under this Agreement, including, but not limited to, submitting objections, appearing
at the Fairness Hearing, or cashing a Settlement Check or a check for a Service Award.

19.    APPLICABLE LAW

               This Agreement shall be governed by the common law and statutes of the State of
New York, without regard to its principles of conflicts of laws.

20.    HEADINGS

               Section headings in this Agreement are included for convenience of reference
only and shall not be a part of this Agreement for any other purpose.


21.    INTEGRATED AGREEMENT

               This Agreement contains the entire agreement between the Parties relating to the
resolution of the Litigation, and all prior or contemporaneous agreements, understandings,
representations, and statements relating to the Litigation or to the claims and allegations in the
Litigation, whether oral or written and whether by a party or such party’s legal counsel, are
merged in this Settlement. For the avoidance of doubt, this Agreement does not vitiate or modify
any Class Member’s obligation under any other written agreement between such individual and
Bloomberg or any of its former or present parents, subsidiaries, and affiliated entities that was


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not executed in connection with this Litigation, such as any non-disclosure agreement, separation
agreement, or any other release agreement between the individual and Bloomberg or any of its
former or present parents, subsidiaries, and affiliated entities, or any other agreement that such
individual may have signed in connection with his or her assignment or engagement to provide
services to Bloomberg or any of its former or present parent, subsidiary, and affiliated entities or
the termination of such assignment or engagement.
               No rights of any Party, Class Counsel, or Bloomberg’s Counsel under this
Settlement may be waived except in writing.

22.    NO PRIOR ASSIGNMENTS

               The Parties represent and warrant that they have not directly or indirectly,
assigned, transferred, encumbered, or purported to assign, transfer, or encumber to any person or
entity any portion of any liability, claim, demand, action, cause of action or right released and
discharged in this Agreement.

23.    BINDING ON SUCCESSORS

               This Agreement shall be binding upon and inure to the benefit of the Parties and
their respective heirs, trustees, executors, administrators, successors and assigns.

24.    NO ADMISSION OF LIABILITY OR CLASS CERTIFICATION

       24.1    Bloomberg denies that it or any of its present or former owners, stockholders,
predecessors, successors, assigns, agents, directors, officers, employees, representatives,
attorneys, parents, subsidiaries, affiliates, benefits plans, plan fiduciaries, and/or administrators
have engaged in any unlawful activity, have failed to comply with the law in any respect, have
any liability to anyone under the claims asserted in the Litigation, or that, but for the Settlement,
this Litigation is properly maintained as a class action under Rule 23. This Agreement is entered
into solely for the purpose of compromising highly disputed claims.


       24.2    Nothing in this Agreement is intended or will be construed as an admission of
liability or wrongdoing by Bloomberg or any of its former or present owners, stockholders,



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predecessors, successors, assigns, agents, directors, officers, employees, representatives,
attorneys, parents, subsidiaries, affiliates, benefits plans, plan fiduciaries, and/or administrators;
an admission by Plaintiffs that any of their claims were non-meritorious; or an admission that
any defense asserted by Bloomberg was meritorious.

        24.3    The Parties agree that this Settlement and the fact that the Parties were willing to
settle the Litigation will not be described in or offered or received against either Party or any
Released Party as evidence of any presumption, concession or admission by them as to: (i) the
truth of any facts alleged in the Litigation; (ii) the validity of any of the claims or defenses in the
Litigation; (iii) the deficiency of any of the claims or defenses in the Litigation; and/or (iv) any
liability or damages in this Litigation.

        24.4    The Parties agree this Agreement is in no way an admission that class certification
is proper and that evidence of this Agreement to settle on a class basis shall not be described in,
or offered or received against either Party or any Released Party in this litigation or any other
civil, criminal, or administrative action.

        24.5    Whether or not there is Final Approval, the Parties agree that neither the
Settlement, this Agreement, any documents, statement, proceeding, or conduct related to the
Settlement or the Agreement, nor any reports or accounting of those matters, will be described in
or offered or received against either Party or any Released Party, in any further proceeding in the
Litigation, or any other civil, criminal or administrative action or proceeding except for purposes
of effectuating the Settlement pursuant to this Agreement.

        24.6    This section and all other provisions of this Agreement notwithstanding, any and
all provisions of this Agreement may be admitted in evidence and otherwise used in any and all
proceedings to enforce any or all terms of this Agreement or in defense of all claims released or
barred by this Agreement.

25.     CONSTRUCTION

                The Parties agree that the terms and conditions of this Agreement are the result of
lengthy, intensive arms-length negotiations between the Parties and that this Agreement shall not
be construed in favor of or against any Party by reason of the extent to which any Party or its


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counsel participated in the drafting of this Agreement.

26.    NOTICES

               Unless otherwise specifically provided herein, all notices, demands or other
communications given hereunder shall be in writing and shall be deemed to have been duly given
as of the third business day after mailing by United States registered or certified mail, return
receipt requested, addressed as follows:

                (a)     To Plaintiffs and the Class:

                        Dan Getman, Esq.
                        Getman, Sweeney & Dunn PLLC
                        260 Fair Street
                        Kingston, New York 12401

                (b)     To Bloomberg:

                        Matthew W. Lampe, Esq.
                        Jones Day
                        250 Vesey Street
                        New York, New York 10281


27.    EXECUTION IN COUNTERPARTS

               This Agreement may be executed in counterparts, and when each party has signed
and delivered at least one such counterpart, each counterpart shall be deemed an original, and,
when taken together with other signed counterparts, shall constitute one Agreement which shall
be binding upon and effective as to all Parties.




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Dated: New York, New York
       J..,,
           c. I .J , 20 18




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                                      TITLE:   ~t)k~'""t!·,l
                                                  I       /
                                                               Co•h'IJc /



Dated: New York, New York
      _ _ _ _ _ ,2018

                                      GETMAN, SWEENEY & DUNN PLLC

                                      BY: _______~--
                                      NAME: _____________

                                      TITLE: _______________


Dated: New York, New York
      _ _ _ _ _ ,2018

                                      ALEXANDER LEE   I



                                      BY: _ _ _ _ _ _ _ ___

                                      NAME: _______________

                                      TITLE: _______________


Dated: New York, New York
      _ _ _ _ _ ,2018

                                      WILLIAM VAN VLEET

                                      BY: ____________

                                      NAME: ______________

                                      TITLE: ______________




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Dated: New York, New York
      _____________, 2018

                                     BLOOMBERG L.P.

                                     BY: _______________________

                                     NAME: ____________________

                                     TITLE: ____________________


Dated: New York, New York
      _____________, 2018

                                     GETMAN, SWEENEY & DUNN PLLC

                                     BY: _______________________

                                     NAME: ____________________

                                     TITLE: ____________________


Dated: New York, New York
        June 15
      _____________, 2018

                                     ALEXANDER LEE

                                     BY: _______________________

                                             Alexander Lee
                                     NAME: ____________________

                                              Named Plaintiff
                                     TITLE: ____________________


Dated: New York, New York
      _____________, 2018

                                     WILLIAM VAN VLEET

                                     BY: _______________________

                                     NAME: ____________________

                                     TITLE: ____________________




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Dated: New York, New York
      _____________, 2018

                                     ERIC ROSEMAN

                                     BY: _______________________

                                     NAME: ____________________

                                     TITLE: ____________________




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            EXHIBIT A
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                          UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF NEW YORK

             This is a court-authorized notice. This is not a solicitation from a lawyer.

                NOTICE OF CLASS ACTION SETTLEMENT
To [Name]

A settlement has been reached in the case of Eric Roseman, et al v. Bloomberg L.P., No. 14-cv-02657,
which will affect your rights as an opt-in or class member. Under the terms of the settlement, if it is approved
by the Court, you will automatically be mailed a settlement payment after the time period for any appeals
(and extensions of time for appeals) has expired or any appeals are resolved, and will release all your claims
against Bloomberg related to not receiving overtime as an ADSK Representative. This settlement does not
release other claims you may have against Bloomberg that are outside the scope of the release described in
Appendix A to this Notice. Your gross settlement payment is estimated to be $<<settlement amount>>
[plus a gross service award (if approved by the Court) in the amount of $<<service award amount>>] less
tax withholding as explained in Section 6 below.

If you received this Class Notice at your correct address, you do not need to take any further steps to
participate in this settlement. If your address has changed or will change in the next several months, you
will need to provide your updated contact information to the Settlement Administrator at the address below
in Section 15.


                                         YOUR OPTIONS

              YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

 PARTICIPATE IN THE To receive a payment, you do not have to do anything at this time (except
  SETTLEMENT AND    update your address if it has changed or will change in the next several
 RECEIVE A PAYMENT months). If the Court grants final approval of the settlement, you will receive
                                   a payment in the mail.


                                   Write to the Court (via the Settlement Administrator) to object to the
                                   settlement, or any part thereof. Objections must be mailed to the Settlement
                                   Administrator by First-Class United States Mail, postage prepaid, and
            OBJECT
                                   postmarked by [INSERT DATE 60 DAYS FROM THE DATE
                                   SETTLEMENT ADMINISTRATOR MAILS THE NOTICE] and received
                                   by no later than [20 days before fairness hearing], as detailed below.

  GO TO THE HEARING The Court will hold a hearing (the fairness hearing) as explained below to
   TO SPEAK ABOUT   decide whether to approve the settlement. You may attend the hearing to
   YOUR OBJECTION   speak to the Court about any objection you have to the settlement, but only


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                                 if you make an objection first in accordance with Section 9 below and state
                                 in your objection that you would like to speak at the hearing about your
                                 objection.




                                  BASIC INFORMATION
     1. What is the purpose of this notice?

The Court has ordered that this Notice be sent to you because you worked as an ADSK Representative for
Bloomberg L.P. between April 14, 2008 and June 15, 2018 in New York, or between December 3, 2011
and June 15, 2018 in California, and previously either joined the case or did not opt out of the Class. The
purpose of this Notice is to inform you of your rights and options, and the deadlines to exercise them under
the terms of the Settlement Agreement. The Court still has to decide whether to grant final approval to the
settlement. Payments will be made only if the Court approves the settlement and after any appeals are
resolved.

The information provided in this Class Notice is only a summary. The terms of the Settlement Agreement
are the binding terms of this settlement, and all such terms and releases (for class members who did not
opt-out) are explained in the Settlement Agreement that is on file with the Court and available from the
Settlement Administrator or Class Counsel (see Section 15 below). If the settlement is not approved by the
Court or does not become final for some other reason, Plaintiffs’ case against Bloomberg will continue.

     2. What is this Lawsuit about?

Named Plaintiffs Eric Roseman, Alexander Lee, and William Van Vleet brought this action on behalf of
themselves and other current and former ADSK Representatives as a Class and Collective Action
Complaint against Defendant Bloomberg L.P. under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.
(“FLSA”), the New York Labor Law (“NYLL”), and the California Labor Code (“Cal. Lab. Code”) for the
alleged failure to pay overtime premiums to the Named Plaintiffs and all other ADSK Representatives
working in New York and California.

Bloomberg denies the allegations in the lawsuit and maintains that ADSK Representatives have at all times
been properly classified as exempt from overtime pay requirements.

The lawsuit is known as Roseman, et al v. Bloomberg L.P., No. 14-cv-02657 (DLC) (KNF) (S.D.N.Y.), and
it is pending in the United States District Court for the Southern District of New York (“the Court”) before
the Honorable Denise L. Cote.

     3. Why is this a class action? What is a class action?

In a class action, one or more individuals sue on behalf of others who they believe have the same or similar
claims. The Named Plaintiffs brought this Lawsuit on behalf of themselves and other ADSK
Representatives who they asserted had similar claims. In April 2015, the Court conditionally certified a
collective action of individuals who had worked at Bloomberg as ADSK Representatives for at least part
of the prior three years. In September 2017, the Court certified classes of ADSK Representatives who
worked in New York during the period between April 14, 2008, and the present or in California during the
period between December 3, 2011, and the present, and appointed Alexander Lee and William Van Vleet

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as the Class Representatives. Individuals who are in those classes are Class Members. In class actions, one
court resolves all related issues for all Class Members, except for those who previously excluded themselves
from the Class.

  4. Why is there a settlement?

The Court did not decide in favor of the Plaintiffs or Bloomberg. A jury trial was commenced, and both
sides believe they would have prevailed had the case proceeded to a verdict, but the parties did not complete
the trial. Instead, in the middle of the trial, both sides agreed to a settlement. That way, the parties avoided
the uncertainty of the outcome at trial and the cost and delays of any appeals. The Named Plaintiffs and
Class Counsel think the settlement is in the best interest of the Class in light of these risks.

Similarly, Bloomberg has chosen to settle to resolve this case against it, and to avoid the burden, expense,
and uncertainty of continued litigation and possible appeals. Bloomberg does not admit any liability or
wrongdoing by entering into this settlement.



           THE SETTLEMENT BENEFITS—WHAT YOU GET
  5. What does the settlement provide?

Defendant has agreed to pay a total of Fifty-Four Million, Five Hundred Thousand Dollars
($54,500,000.00) for settlement payments to the Named Plaintiffs and the Class Members; attorneys’ fees
and costs; Service Awards to the Named Plaintiffs and certain Plaintiffs who testified at trial, were
scheduled to testify at trial, or who gave deposition testimony during discovery (“Trial Witnesses” and
“Non-Testifying Witnesses” respectively); and the cost of administering the settlement. Each Class Member
who did not opt out will receive a share of the settlement based on an agreed-upon formula.

Plaintiffs will also ask the Court to approve Service Awards to three (3) Named Plaintiffs of up to $25,000
for initiating the Litigation, performing work in support of or otherwise participating in the Litigation, and
taking what they believe was the risk of harm to their careers and reputations; to four (4) additional Trial
Witnesses of up to $10,000 for preparing for trial, traveling to and from trial, and testifying at trial; and to
six (6) Non-Testifying Witnesses of up to $5,000 for giving deposition testimony and other evidence during
discovery or for being designated and prepared to testify at trial to benefit the Class.

After attorneys’ fees and costs, Service Awards, and the costs of administering the settlement are deducted
from the settlement, it is expected that at least approximately [$XX] will remain to be distributed among
class members as the “Net Settlement Amount.”

If the Court approves the settlement, you will be deemed to have released all wage and hour claims against
Bloomberg in accordance with the provisions of the Settlement Agreement and the release language in
Appendix A to this Notice, even if you do not cash, sign, endorse, deposit, or otherwise negotiate your
settlement check(s). This means that you cannot sue Bloomberg for any of the claims covered by the release.
The settlement does not resolve or release any other claims against Bloomberg that are outside the scope of
the release listed in Appendix A to this Notice. Full details about the release and the complete language of
the release are included in the Settlement Agreement, which is available from the Settlement Administrator
or Class Counsel (see Section 15 below).

Individuals who do not cash their funds within one (1) year from the payout date will have their funds
distributed equally to Make the Road NY and The Consortium for Worker Education, two entities

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approved by the Court to receive funds from any uncashed checks.

  6. How much will my payment be?

Your share of the Net Settlement Amount will be based on the allocation described in the Settlement
Agreement and summarized as follows:

For all workweeks that a Class Member worked in an ADSK Rep Job, his or her claim in the lawsuit is
valued using his or her work hours (badge hours plus 5), his or her salary and bonus, the applicable overtime
calculation under state and federal law (such as in California, daily weekly, double time overtime, waiting
period, and under Federal and NY law, liquidated damages), prejudgment interest at the applicable state
rate, litigation risk discounts (such as the use of the half-time method for calculating overtime) and
extrapolations for any time after December 2017. Each individual’s resulting aggregate calculation is
prorated to the net settlement sum available for distribution.

Based on the allocation described in the Settlement Agreement, your gross settlement payment is estimated
to be $<<settlement amount>>. One half of your settlement payment will be treated as wages with taxes
withheld and will be reported to the IRS and state tax authorities on a W-2 form. The other half will be
treated as non-wage income and will be reported to tax authorities on IRS Form 1099.

INSERT FOR INDIVIDUALS RECEIVING A SERVICE PAYMENT: [Additionally, you will be eligible
for a Service payment of $XX if approved by the Court. Service payments will be counted as taxable income
without withholding and will be reported to tax authorities on a 1099-XX Form.]



                             HOW YOU GET A PAYMENT
  7. How can I get my payment?

To receive a payment, you do not need to do anything at this time. If the Court grants final approval of the
settlement, you will receive a payment in the mail. If your address is different than the address to which
this notice was mailed or is expected to change in the next several months, please fill out the enclosed
Change of Address Form and deliver it to the Settlement Administrator at:

Insert: Settlement Administrator Contact Information [insert]

  8. When will I get my settlement payment?

The Court will hold a fairness hearing on [INSERT DATE] at [INSERT TIME] to decide whether to
grant final approval of the settlement. If the Court approves the settlement, the settlement will become final
when the time period for any appeals has expired (and extensions of time for seeking to appeal have expired)
or any appeals are resolved, and your payment will be mailed to you within fourteen (14) days after the date
on which the settlement becomes final. In other words, if there are no appeals, your payment will be mailed
to you within [XX INSERT 14 DAYS + 60 XX] of the Court’s approval order.




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                      OBJECTING TO THE SETTLEMENT
  9. How do I tell the Court that I object to the settlement?

You can object to the settlement by submitting a written objection if you do not agree with the settlement
or some part of it. You must give reasons why you think the Court should not approve it. To be considered,
your objection must be mailed to the Settlement Administrator (contact information listed below), by First
Class United States Mail, postage prepaid, and postmarked not later than [INSERT DATE 60 DAYS
FROM THE DATE SETTLEMENT ADMINISTRATOR MAILS THE NOTICE] and must be
received by the Settlement Administrator no later than [20 days before fairness hearing]. The objection
must include all reasons for your objection. Any reasons not included in the objection will not be
considered. The objection must also include the name, home address, and telephone number for the Class
Member making the objection. Any Class Member who does not specify his or her objections in writing
within the specified time and procedures shall be deemed to have waived all objections and shall not be
permitted to make objections to the settlement now or on appeal. The settlement will nonetheless be fully
binding on them if finally approved.

Insert: Settlement Administrator Contact Information


                    THE LAWYERS REPRESENTING YOU
  10. Do I have a lawyer in this case?

Yes. The Court has previously determined that the lawyers at the law firm of Getman, Sweeney & Dunn,
PLLC, 260 Fair Street, Kingston, NY 12401, are qualified and has appointed them to represent you and
all of the other Class Members as “Class Counsel” in this lawsuit. More information about the law firm,
their practices, and their lawyers’ experience is available at www.getmansweeney.com, or you may call
the firm at 845-255-9370.

  11. How will the lawyers be paid?

The Named Plaintiffs have entered into a retainer agreement with Class Counsel. Under the agreement,
Class Counsel has the right to ask the Court to approve up to thirty-three percent (33%) of the settlement
amount as their attorneys’ fees. However, under the terms of the Settlement Agreement, the Named
Plaintiffs and Class Counsel have agreed to ask the Court for no more than twenty-five percent (25%) of
the settlement amount as attorneys’ fees, plus costs. The fees will compensate Class Counsel for their time
since 2014 investigating the facts, litigating the case, trying the case before a jury, and negotiating the
settlement, along with bearing the risk that the case might never succeed and they would be paid nothing
for their work, and for conferring a benefit upon all Class Members. The lawyers will also ask the Court to
approve reimbursement of their out-of-pocket expenses incurred in the case.



                      THE COURT’S FAIRNESS HEARING
The Court will hold a final fairness hearing to decide whether to approve the settlement. You may attend
the hearing. You may also speak at the hearing if you have previously timely filed a written objection in
which you have stated your intention to speak.


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  12. When and where will the Court decide whether to approve the Settlement Agreement?

The Court will hold a fairness hearing at [INSERT TIME] on [INSERT DATE] at the
United States District Court for the Southern District of New York, Daniel Patrick Moynihan
United States Courthouse, 500 Pearl Street, New York, NY 10007-1312, before United States District Judge
Denise L. Cote, in Courtroom 18B.

At the final fairness hearing, the Court will consider whether the settlement, including attorneys’ fees and
costs and Service Awards, is fair, reasonable, and adequate. If anyone has submitted any objections, the
Court will consider them at that time. After the hearing, the Court will decide whether to approve the
settlement.

  13. Do I have to come to the fairness hearing?

No, Class Counsel will represent you at the hearing. Of course, you are welcome to attend (at your own
expense) if you so desire. The Court will consider any objections received in a timely manner, even if the
individual who sent the objection does not appear at the final fairness hearing. You also may pay to have
your own, different lawyer attend the final fairness hearing, but it is not necessary. You will be solely
responsible for the fees and costs of your own attorney, should you choose to hire one.

  14. May I speak at the fairness hearing?

You may ask the Court for permission for you and/or your personal attorney to speak at the final fairness
hearing if you have previously timely filed a written objection. If you file an objection and wish to appear
and speak at the fairness hearing, you must state your intention to do so in writing as part of your objection,
and failure to so specify that you wish to speak will be deemed a waiver of the right to speak.


                         GETTING MORE INFORMATION
  15. Are there more details about the settlement?

You can obtain more information about the settlement or obtain a copy of the Settlement Agreement by
contacting the Settlement Administrator at:

[INSERT SETTLEMENT ADMINISTRATOR CONTACT INFO]

You may also contact Class Counsel at:

                                     Getman, Sweeney & Dunn, PLLC
                                              260 Fair Street
                                            Kingston, NY 12401
                                              (845) 255-9370
                                        www.getmansweeney.com
                                      paralegal@getmansweeney.com




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                                                APPENDIX A


Even if you do not cash, sign, endorse, deposit, or otherwise negotiate your settlement check(s), you fully
and forever release Bloomberg and/or its affiliated entities, general partner, Bloomberg Inc., and every
and all of their present and former owners, partners, stockholders, predecessors, successors, assigns, agents,
directors, officers, employees, representatives, attorneys, parents, divisions, subsidiaries, affiliates, benefits
plans, plan fiduciaries, and/or administrators, and all persons acting by, through, under, or in concert with
any of them, including any party that was or could have been named as a defendant in the Litigation
(collectively, the “Released Parties”) from “all claims that are based upon, arise out of, or relate to the facts,
acts, transactions, occurrences, events, or omissions alleged in the Litigation and that arose during the time
that such individual was employed by Bloomberg in a Covered Position up until the Execution Date,
including but not limited to wage and hour claims, rights, demands, liabilities, and causes of action that
were asserted or could have been asserted, under federal, state, local, or other applicable law in the
Litigation (the “Released Claims”). The Released Claims include, without limitation, all claims under any
federal, state, and/or local or other wage and hour laws, whether known or unknown, asserted or unasserted,
of any kind whatsoever for wages, damages, unpaid costs, penalties, liquidated damages, punitive damages,
interest for unpaid regular or overtime wages, any related wage and hour claims, all related derivative
benefit claims (both ERISA and non-ERISA benefits), interest on such claims, and attorneys’ fees and costs
related to such claims, whether at common law, pursuant to statute, ordinance, or regulation, in equity, or
otherwise, from the beginning of time through the Execution Date. The Released Claims include without
limitation claims asserted in the Litigation and any other claims based on alleged misclassification under
state or federal law governing overtime pay; failure to pay overtime; exempt status; denial of meal periods
and rest breaks; denial of waiting time, on-call, standby time, or reporting time payments; denial of spread
of hours pay; failure to pay wages upon termination; failure to provide itemized wage statements; failure to
make payments due to Qualified Class Members had they been classified as nonexempt; failure to provide
benefits or benefit credits; failure to keep records of hours worked or compensation due; and penalties for
any of the foregoing, including claims under the FLSA, and the laws of any state.”

It is the desire of the Parties to fully, finally, and forever settle, compromise, and discharge all Released
Claims (as defined above) that were or could have been asserted against the Released Parties in this
Litigation, whether known or unknown, liquidated or unliquidated. Qualified Class Members may hereafter
discover facts in addition to or different from those which they now know or believe to be true with respect
to the subject matter of the Released Claims, but upon the entry of the order granting Final Approval,
Qualified Class Members shall be deemed to have, and by operation of the Judgment shall have fully,
finally, and forever settled and released any and all Released Claims, known or unknown, suspected or
unsuspected, contingent or non-contingent, whether or not concealed or hidden, which then exist, or
heretofore have existed upon any theory of law or equity now existing or coming into existence in the future
accruing from the beginning of time through the Execution Date, including, but not limited to, conduct
which is negligent, intentional, with or without malice, or a breach of any duty, law, or rule, without regard
to the subsequent discovery or existence of such different or additional facts. With respect to the Released
Claims, any Qualified Class Members who are California Class Members waive all rights and benefits
afforded by Section 1542 of the Civil Code of the State of California, understanding the significance of that
waiver. Section 1542 provides:

          A general release does not extend to claims which the creditor does not know or suspect
          to exist in his or her favor at the time of executing the release, which if known by him
          or her must have materially affected his or her settlement with the debtor.



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             EXHIBIT B
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                        UNITED STATES DISTRICT COURT FOR THE
                          SOUTHERN DISTRICT OF NEW YORK

               This is a court-authorized notice. This is not a solicitation from a lawyer.

                             CHANGE OF ADDRESS FORM
To [Name]:

We need to be sure we can contact you. In the past, some people have missed getting their
settlement payment because they did not keep their contact information up-to-date. If your
address is different than the address to which the Notice of Class Action Settlement was mailed or
is expected to change prior to the mailing of the settlement payment as described in Section 8 of
the Notice of Class Action Settlement, please complete this form and send it to the Claims
Administrator at the address at the bottom of this form.


NAME: _____________________________________________

ADDRESS: __________________________________________

CITY: _______________________________________________

STATE: _____________________________ ZIP: ___________

PHONE NUMBER (optional): ____________________________

EMAIL ADDRESS: ____________________________________

DATE OF ADDRESS CHANGE (PAST OR FUTURE): __________________________

ALTERNATE CONTACT INFORMATION OF A FAMILY MEMBER OR FRIEND (IN CASE
WE CANNOT REACH YOU):

NAME: ______________________________________________

RELATIONSHIP: ______________________________________

ADDRESS: ___________________________________________

CITY: _______________________________________________

STATE: _____________________________ ZIP: ___________

PHONE NUMBER (optional): ____________________________

Please return this sheet to [INSERT CLAIMS ADMINISTRATOR CONTACT].
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            EXHIBIT C
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ERIC MICHAEL ROSEMAN, ALEXANDER
 LEE, and WILLIAM VAN VLEET, individually
 and on behalf of others similarly situated,                  Case No. 14-CV-2657 (DLC)
                                                              (SDA)
                               Plaintiffs,

                v.                                                        ECF Case


 BLOOMBERG L.P.,


                               Defendant.



          [PROPOSED] ORDER GRANTING THE PARTIES’ MOTION FOR
      PRELIMINARY APPROVAL OF CLASS SETTLEMENT, APPROVAL OF THE
           PROPOSED NOTICE OF SETTLEMENT, AND OTHER RELIEF

       WHEREAS, the above-captioned class and collective action (the “Action”) is pending

before this Court;

       WHEREAS, the Court has reviewed the Settlement Agreement and Release dated [June

__], 2018 (the “Agreement”), which has been entered into by and among Alexander Lee, Eric

Roseman, and William Van Vleet (the “Named Plaintiffs”), individually and on behalf of the

classes of individuals they represent (collectively referred to as the “Qualified Class Members”)

and Bloomberg L.P. (“Bloomberg” or “Defendant”);

       WHEREAS, the Agreement sets forth the terms and conditions for a settlement and

dismissal of the Action, including all defined terms used herein; and,

       WHEREAS, the Parties have made an application pursuant to Federal Rule of Civil

Procedure 23(e) for an order preliminarily approving the Settlement, and the Court, having read

and considered the Agreement and submissions made relating to the Settlement;



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       NOW THEREFORE IT IS HEREBY ORDERED that:

A.     All Qualified Class Members Included in Settlement

       1.      Except as otherwise specified herein, for purposes of this Order, the Court adopts

the definitions of all capitalized terms used herein as set forth in the Agreement.

       2.      If final approval is granted, all Class Members, with the exception of Opt-Outs,

shall be included as Qualified Class Members and covered by the terms of the Agreement. The

opt-in acknowledgments contained on the backs of the Settlement Checks shall be deemed filed

with the Court at the time each Qualified Class Member signs, endorses, deposits, cashes, or

negotiates his or her Settlement Checks. Each Qualified Class Member, regardless of whether

such Qualified Class Member cashes, deposits, endorses, signs, or negotiates his or her

Settlement Check(s), shall be bound by the release contained in the Agreement.

B.     Preliminary Approval Of Settlement

       3.      Based upon the Court’s review of the Parties’ Memorandum of Law in Support of

Parties’ Motion for Preliminary Approval of Class Settlement, the Declaration of Dan Getman,

and all other papers submitted in connection with the Parties’ Preliminary Approval Motion, the

Court grants preliminary approval of the Settlement memorialized in the Agreement.

       4.      The Court preliminarily finds that the Settlement is fair and reasonable, including

the proposed attorneys’ fees and costs and the proposed Service Payments.

       5.      The Court finds, based on the papers submitted, that the Settlement was

negotiated at arm’s length and was not collusive. The Court further finds that Class Counsel and

Bloomberg’s Counsel were fully informed about the strengths and weaknesses of the Classes’

case when they entered into the Agreement.




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        6.      The Court also finds that the proposed plan of allocation is rationally related to

the relative strengths and weaknesses of the respective claims asserted and is within the range of

possible approval such that Class Notice is appropriate.

        7.      Accordingly, the Court grants preliminary approval to the Settlement Agreement

and the plan of allocation as fair, reasonable, and adequate.

C.      Final Fairness Hearing

        8.      The Final Fairness Hearing shall be held on , 2018 at          :   [a.m./p.m.] (as per

Section 4.2 of the Settlement Agreement, should be no earlier than 120 days after the filing of the

Preliminary Approval Motion) to determine whether to grant final approval to the Agreement. At

the Fairness Hearing, the Court also will consider any petition that may be filed for the payment

of attorneys’ fees and costs/expenses to Class Counsel and any Service Awards to be made to

any Plaintiffs. Not later than ten (10) days before the Fairness Hearing, the Parties shall submit a

Motion for Judgment and Final Approval, and Class Counsel shall submit a motion for an award

of attorneys’ fees and reimbursement of costs/expenses and for Service Awards.

D.       Approval of Form and Manner of Class Notice

        9.      The Court finds that the form and methods set forth in the Parties’ Preliminary

Approval Motion of notifying Qualified Class Members of the Settlement and its terms and

conditions meet the requirements of Rule 23 of the Federal Rules of Civil Procedure. The form

and methods set forth in the Parties’ Preliminary Approval Motion constitute the best notice

practicable under the circumstances, and the detailed information in the Class Notice is adequate

to put Class Members on notice of the Settlement. Accordingly, the Court approves, as to form

and content, the Class Notice (Exhibit A to the Agreement) and the Change of Address Form

(Exhibit B to the Agreement).




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       10.     The Court further Orders that Qualified Class Members who wish to present

objections to the Settlement at the Fairness Hearing must first do so in writing. To be effective, a

written objection must be sent to the Settlement Administrator via First Class United States Mail,

postage prepaid, and be postmarked no later than 60 calendar days after the Settlement

Administrator mails the Settlement Forms. In addition, no objection will be effective if not

received by the Settlement Administrator prior to twenty (20) days before the Fairness Hearing.

Either Party may file with the Court written responses to any objections by no later than ten (10)

days before the Fairness Hearing.

E.     Settlement Administrator

       11.     The Court authorizes Settlement Services Inc. to act as Settlement Administrator

as stipulated and detailed in the Settlement Agreement and authorizes the Parties to insert

appropriate contact information in the Notice package.

F.     Cy Pres

       12.     The Court approves the Parties’ designation of Make the Road NY and The

Consortium for Worker Education as the Cy Pres recipients, in equal shares, of undistributed

funds as stipulated and detailed in the Settlement Agreement and authorizes the Parties to insert

this designation in the Notice package.


It is so ORDERED this         day of                 , 2018.



                                              Honorable Denise L. Cote
                                              United States District Judge




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            EXHIBIT D
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ERIC MICHAEL ROSEMAN, ALEXANDER
LEE, and WILLIAM VAN VLEET, individually
and on behalf of others similarly situated,                 Case No. 14-CV-2657 (DLC)
                                                            (SDA)
                               Plaintiffs,

               v.                                                       ECF Case


BLOOMBERG L.P.,


                               Defendant.




    [PROPOSED] ORDER GRANTING THE PARTIES’ MOTION FOR FINAL
 APPROVAL OF CLASS SETTLEMENT AND PLAINTIFFS’ MOTION FOR FINAL
 APPROVAL OF CLASS COUNSEL’S FEES AND COSTS AND SERVICE AWARDS

       WHEREAS, the above-captioned matters came before the Court on the Parties’ Motion

for Final Approval of Class Settlement (“Motion for Final Approval and Judgment”) (Dkt. No. _)

and Plaintiffs’ Motion for Approval of Class Counsel’s Fees and Costs and Service Awards

(“Fees Motion”) (Dkt. No._).

       WHEREAS, a Class Action and Collective Action Complaint was filed in the above-

captioned action (the “Litigation”) on April 14, 2014, and subsequently amended during the

Litigation;

       WHEREAS, the operative amended complaint asserted claims against Bloomberg under

the Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), the New York Labor Law

(“NYLL”), and California law for the alleged failure to pay certain overtime amounts to the

Named Plaintiffs and all other “Analytics Representatives” who allegedly are similarly situated;




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       WHEREAS, on April 17, 2015, the Court certified the Litigation as a collective action

under the FLSA;

       WHEREAS, pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

certified a NYLL class on September 21, 2017, and a California law class on September 25,

2017, and notice issued to the NYLL and California classes pursuant to the Court’s Order dated

November 14, 2017 (Dkt. 336);

       WHEREAS, on [_______, 2018], the parties entered into the final Settlement Agreement

and Release (the “Agreement”), which resolves all claims asserted in the Litigation;

       WHEREAS, on [______, 2018], the Parties moved for preliminary approval of the

Agreement;

       WHEREAS, on [______, 2018], the Court granted preliminary approval of the

Agreement, approved the form of the Notice of Class Action Settlement (“Class Notice”), and

authorized the mailing of the Class Notice to the Qualified Class Members;

       WHEREAS, the Parties received [___] objections from Qualified Class Members

following the distribution of the Class Notice, [if any, include the following: which Plaintiffs

submitted to the Court for consideration, and which the Court did consider, in conjunction with

their Motion for Final Approval and Judgment];

       WHEREAS, on [______, 2018], the Court held a Fairness Hearing to consider the

Settlement and hear arguments from Class Counsel, Bloomberg’s Counsel, and [___] Class

Members;

       NOW, THEREFORE, IT HEREBY IS ORDERED, upon consideration of the Motion for

Final Approval and Judgment, the supporting brief and declarations, arguments presented at the

Fairness Hearing on [______, 2018], and the complete record in this matter, for good cause


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shown, that:

        1.        Except as otherwise specified herein, for purposes of this Order, the Court adopts

the definitions of all capitalized terms used herein as set forth in the Agreement.

        2.        This Court has jurisdiction over the subject matter of this Litigation and all

matters relating thereto, and over all Parties.

        3.        If, for any reason, the Effective Date does not occur, Defendant shall have no

obligation to make any payments provided for in the Agreement; the Agreement shall be deemed

null and void; the Agreement, this Order, and any other Court Orders related to settlement,

and/or settlement negotiations shall not be cited to, used in, or admissible in any other

proceedings with respect to any issues therein; the Litigation shall proceed as though the

Agreement had not been executed; the Plaintiffs and Defendant shall return to their respective

positions in this Litigation as those positions existed immediately before the Plaintiffs and

Defendant executed the Agreement; and none of the information provided by Defendant for the

purposes of settlement negotiations or approval shall be used in the Litigation.

        4.        The class notice pursuant to this Court’s November 14, 2017 Order (Dkt. 336)

and the Class Notice (as such term is defined in the Agreement) pursuant to this Court’s

[______, 2018] Order, constituted the best notice practicable under the circumstances, were

accomplished in all material respects, and fully met the requirements of Rule 23 of the Federal

Rules of Civil Procedure, due process, and the United States Constitution and any other

applicable law.

        5.      The Court grants final approval of the Agreement. The Court finds that the

Settlement, including the settlement of FLSA claims, is fair, reasonable, and adequate in all

respects, and that it is binding on Qualified Class Members. The Court specifically finds that the



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Settlement is rationally related to the strength of the claims in this case given the risk, expense,

complexity, and duration of further litigation. The Court also finds that the Agreement is the

result of arms-length negotiations between experienced counsel representing the interests of the

Parties, after thorough factual and legal investigation.

        6.       The Court approves the payment of the amount of any Settlement Checks that

remain uncashed at the end of the Payout Period, and that are not used to fund the Errors and

Omissions Fund, to Make the Road NY and The Consortium for Worker Education as the Cy

Pres recipients in accordance with the terms of the Agreement.

        7.       The Court finds that the proposed plan of allocation is rationally related to the

relative strengths and weaknesses of the respective claims asserted. The mechanisms and

procedures set forth in the Agreement by which payments are to be calculated and made to

Qualified Class Members are fair, reasonable, and adequate, and payment shall be made

according to those allocations and pursuant to the procedures as set forth in the Agreement.

        8.       The Court approves of the release of the Released Claims, as defined in the

Agreement in Sections 10.1 and 10.3, and the release of attorneys’ fees and costs in Section 10.2

of the Agreement, both of which shall be binding on all Qualified Class Members. The Court

has reviewed the documents referenced above and finds all of these releases to be fair,

reasonable, and enforceable under the FLSA, Fed. R. Civ. P. 23, and all other applicable law.

        9.       The Settlement and the fact that the Parties were willing to settle the Litigation will not

be described in or offered or received against Bloomberg or any Released Party as evidence of any

presumption, concession, or admission by them as to: (i) the truth of any facts alleged in the Litigation;

(ii) the validity of any of the claims in the Litigation; (iii) the deficiency of any of Bloomberg’s defenses;

and/or (iv) any liability or damages in this Litigation.




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        10.     Evidence of the Agreement to settle on a class basis shall not be described in, or offered

or received against Bloomberg or any Released Party in this Litigation or any other civil, criminal, or

administrative action.

        11.     Neither the Settlement, this Agreement, any documents, statement, proceeding, or

conduct related to the Settlement or the Agreement, nor any reports or accounting of those matters, will

be described in, or offered or received against Bloomberg or any Released Party, in any further

proceeding in the Litigation, or any other civil, criminal, or administrative action or proceeding except for

purposes of effectuating the Settlement.

        12.     Notwithstanding Sections 9, 10, and 11 above, any and all provisions of the

Agreement may be admitted in evidence and otherwise used in any and all proceedings to enforce any and

all terms of the Agreement or in defense of all claims released or barred by the Agreement.

        13.     The Parties and Settlement Administrator shall proceed with the administration of

the Settlement in accordance with the terms of the Agreement.

        14.     By operation of the entry of this Order and the Judgment, all Released Claims are

fully, finally, and forever released, relinquished, and discharged pursuant to the terms of the

release set forth in Sections 10.1 and 10.3 of the Agreement, as to all Qualified Class Members.

        15.     This entire case is dismissed in its entirety with prejudice as to all Qualified Class

Members.

        16.     Without affecting the finality of this Order, the Court will retain jurisdiction over

the case after Final Approval solely for purposes of (i) enforcing the Agreement, (ii) addressing

Settlement administration disputes, and (iii) addressing such post-judgment matters as may be

appropriate under Court rules or applicable law. The parties shall abide by all terms of the

Agreement and this Order.




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        FURTHERMORE, IT IS HEREBY ORDERED, upon consideration of Plaintiffs’

 application for service payments, costs, and fees, that:

       17.     The Court approves the requested Service Awards to the Named Plaintiffs of

$_____________ each, as well as the Service Awards to the Trial Witnesses of $____________

each, and to the Non-Testifying Witnesses of $____________ each. Such Service Awards are in

addition to the amounts these individuals will otherwise be eligible to receive as their share of the

recovery and shall be paid from the Settlement Amount. Such Service Awards are to

compensate the Named Plaintiffs, Trial Witnesses, and Non-Testifying Witnesses for the time

and effort expended in assisting in the prosecution of the Litigation and the ultimate recovery, for

the burdens and risks they bore on behalf of the class, and for their efforts in conferring a benefit

on the passive class.

       18.     The Court approves an award of attorneys’ fees in the amount of $_________

([]% of the Settlement Fund), to be paid from the Settlement Amount. Such award is reasonable

in light of the effort expended and risks undertaken by Class Counsel, and the results of such

efforts, including the ultimate recovery obtained.

       19.     The Court also awards Class Counsel reimbursement of Litigation expenses,

including settlement administration costs, to be paid from the Settlement Amount, in the amount

of $______.




It is so ORDERED this              day of __________, 2018.



                                                Honorable Denise L. Cote
                                                United States District Judge



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             EXHIBIT E
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ERIC MICHAEL ROSEMAN, ALEXANDER
LEE, and WILLIAM VAN VLEET, individually
and on behalf of others similarly situated,                Case No. 14-CV-2657 (DLC)
                                                           (SDA)
                              Plaintiffs,

               v.                                                      ECF Case


BLOOMBERG L.P.,


                              Defendant.




                             [PROPOSED] FINAL JUDGMENT


       WHEREAS, pursuant to Rule 23 of the Federal Rules of Civil Procedure, the Court

certified a NYLL class on September 21, 2017, and a California law class on September 25,

2017, and ordered that Notice issue to those classes;


       WHEREAS, on [______, 2018], the Court granted preliminary approval of the Settlement

Agreement and Release between the above-captioned Parties in this Litigation (the

“Agreement”), approved the form of the Notice of Class Action Settlement (“Class Notice”), and

authorized the mailing of Class Notices to the Qualified Class Members (“Preliminary Approval

Order”);


       WHEREAS, on [______________, 2018], the Court entered its Order Granting the

Parties’ Motion for Final Approval of the Class Settlement and Plaintiffs’ Motion for Approval

of Attorneys’ Fees, Reimbursement of Expenses, and Service Awards (the “Final Approval

Order”), granting final approval to the settlement;

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       WHEREAS, in the Final Approval Order, the Court found that the Settlement is fair,

reasonable, and adequate within the meaning of Federal Rule of Civil Procedure 23(e), the Fair

Labor Standards Act, and all other applicable law;


       WHEREAS, the Court has found that the Class Notices sent to the Qualified Class

Members (as defined in the Agreement) fairly and adequately informed the Qualified Class

Members of the terms of the settlement, was consistent with Federal Rule of Civil Procedure 23

and due process, and was given in the manner prescribed by the Agreement and the Preliminary

Approval Order; and


       WHEREAS, in the Final Approval Order, the Court approved the Settlement

Administrator to make payments and distributions and take all measures described in the

Agreement as called for in the Final Approval Order;


       NOW, THEREFORE, IT IS HEREBY ORDERED that:


       This Court hereby enters final judgment in this case approving the Agreement as fair,

reasonable, and adequate, and dismisses this case with prejudice, in accordance with the terms of

the Agreement and the Final Approval Order.


       Class Members (as defined in the Settlement Agreement) received Notice under Rule

23(c)(2) and the Court finds them to be class members bound by this Final Judgment with the

exception of those individuals whose initials and UUID numbers are listed on the attached

Exhibit A who opted out.


       Without affecting the finality of this Final Judgment in any way, the Court reserves

exclusive and continuing jurisdiction over this action, the Plaintiffs and all other Qualified Class

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Members, and the Defendant for the purpose of supervising the implementation, enforcement,

construction, and interpretation of the Agreement, the Preliminary Approval Order, the Final

Approval Order, and this Final Judgment.


 It is so ORDERED this            day of __________, 2018.




                                             Honorable Denise L. Cote

                                             United States District Judge




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            EXHIBIT A
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                               Opt-Outs

         UUID       Empl ID     Initials
1.       98133      3016        MK
2.       904760     20436       CM
3.       940962     20865       CM
4.       5674055    31276       JF
5.       4528046    33629       AJ
6.       4818461    34793       WL
7.       5014273    35856       JW
8.       5205230    36522       VL
9.       5415160    37156       JP
10.      6891232    37699       SP
11.      5786603    38487       FP
12.      5803638    38549       DS
13.      6300985    40138       AL
14.      7291001    40258       JL
15.      6473440    41212       AO
16.      6626222    42041       FF
17.      6761453    42898       MF
18.      6761465    42903       JA
19.      6761489    42904       MB
20.      6891200    43962       RM
21.      7101458    44890       TC
22.      7101438    45037       JA
23.      7101502    45042       LF
24.      8233758    45067       MZ
25.      8049485    45179       CB
26.      7420068    47330       KO
27.      7439107    47354       KT
28.      7437994    47395       TP
29.      7656998    48402       RG
30.      9454210    50042       PT
31.      9454180    50130       ES
32.      9229365    50434       KF
33.      8400394    51788       TL
34.      8709347    52595       BL
35.      8925726    53222       MS
36.      10666584   53950       RC
37.      10666614   53984       LC
38.      10908935   54020       WJ
39.      9803107    55468       ET
40.      10666619   57729       JM
41.      11660918   59654       AM
42.      12174490   60539       AL
43.      12174640   60540       PD

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44.      12342557   61011       EP
45.      13806264   65027       VG
46.      14294388   66454       EO
47.      14310271   66530       HC
48.      14337459   66763       JA
49.      14639957   67772       DS
50.      15167456   68465       JF
51.      16233572   69681       NH
52.      16694435   70402       BO
53.      16694423   70490       LM
54.      16759855   70680       JA
55.      16808121   70769       KB
56.      16985487   71192       HC
57.      16985415   71217       SL
58.      17460514   100534      NB
59.      18434321   101442      JB
60.      19478912   103178      BT
61.      20300599   104574      BA
62.      20403781   104647      SK




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             EXHIBIT F
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                        California Class Members

         UUID       Empl ID
1.       14375062   66823
2.       14506746   67448
3.       9364214    54683
4.       9364409    54721
5.       19687446   103738
6.       19687518   103747
7.       9364344    54690
8.       7217010    37966
9.       8701157    52575
10.      14375284   66827
11.      12533423   62048
12.      13771240   64983
13.      18434519   101452
14.      12342389   61079
15.      11660636   59600
16.      14506770   67479
17.      13771264   64955
18.      16760185   70746
19.      10795074   58115
20.      6435622    41106
21.      10808328   58116
22.      12533471   62103
23.      17035107   71239
24.      8152229    50633
25.      17035143   71283
26.      16233548   69676
27.      9364219    54694
28.      5205270    36548
29.      14506740   67444
30.      12539093   62104
31.      14506812   67427
32.      10814934   58120
33.      7749469    48766
34.      8152225    51041
35.      7216994    46061
36.      9364129    50406
37.      12502470   61861
38.      9034384    41974
39.      8152213    45455
40.      13771336   64977
41.      4224099    32026
42.      18434501   101466
43.      14506830   67475

                                   1
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44.      12533219   57762
45.      19687434   103736
46.      10795034   54199
47.      12539964   62070
48.      10795024   54204
49.      12568361   62121
50.      14506764   67453
51.      13771234   64980
52.      13771360   64989
53.      16184144   69678
54.      9364234    54719
55.      13771228   64975
56.      14506782   67482
57.      7216982    46063
58.      12533243   62072
59.      11660852   59611
60.      8152277    51040
61.      9034388    53488
62.      17035179   71278
63.      12533213   57764
64.      17035173   71252
65.      17035149   71254
66.      9389606    54700
67.      9364229    54702
68.      17388775   100448
69.      12533249   62053
70.      12342299   54013
71.      12533231   62078
72.      12549339   62108
73.      5241292    36668
74.      8152221    50634
75.      14506974   67456
76.      8152217    45451
77.      17035203   71303
78.      19687494   103819
79.      19687512   103743
80.      13771252   64986
81.      9034420    53481
82.      19687524   103734
83.      12533357   62063
84.      8152237    50982
85.      8148150    45917
86.      12563513   62131
87.      11660846   59647
88.      17035155   71207
89.      5882890    38765

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90.     14506818   67457
91.     9034396    53479
92.     9364379    54689
93.     8152245    51042
94.     14506794   67435
95.     18434441   101437
96.     13771270   64940
97.     19687458   103824
98.     18434633   101455
99.     13771258   64953
100.    10795029   54203
101.    13771216   64938
102.    12533297   62094
103.    8152241    50635
104.    16184192   69677
105.    13771276   64957
106.    9364359    54717
107.    13771222   64985
108.    7796928    48900
109.    8523066    52060
110.    14375290   66826
111.    17035137   71253
112.    8372162    51778
113.    12533237   62060
114.    10795084   58096
115.    7216998    46080
116.    14506752   67432
117.    11660792   59631
118.    13771246   64939
119.    14506908   67454
120.    19687488   103825
121.    17038869   71322
122.    18434381   101476
123.    8152233    50984
124.    11660930   59635
125.    9034408    53485
126.    19687482   103740
127.    17035113   71219




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            EXHIBIT G
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                          NYLL Class Members

         UUID       Empl ID
1.       4559315    33649
2.       13216820   63630
3.       16694393   70476
4.       5241264    36651
5.       7495501    47656
6.       6761441    42897
7.       16694387   70375
8.       12533567   62083
9.       7656978    48491
10.      8482106    51991
11.      8065410    50314
12.      12342359   61031
13.      5132886    36314
14.      5868695    38706
15.      4829171    34865
16.      16233554   69688
17.      12342131   61167
18.      18434411   101453
19.      10090433   56098
20.      4702472    16367
21.      9229795    54185
22.      7903190    49498
23.      16694405   70452
24.      13216856   63709
25.      19478750   103230
26.      5062461    36027
27.      14506746   67448
28.      7330646    46804
29.      3749752    29517
30.      3105083    27785
31.      7499874    47657
32.      5241268    36652
33.      12342185   61064
34.      17460526   100489
35.      20300503   104583
36.      4864084    35118
37.      14066047   65672
38.      14506716   67483
39.      7194113    45961
40.      5593967    35010
41.      16719465   70491
42.      17460538   100569
43.      5162256    36404

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44.      13806432   65035
45.      18724026   101721
46.      19739382   103878
47.      4949627    35592
48.      5331974    36939
49.      19478816   103197
50.      4917070    35522
51.      12382469   61298
52.      14640005   67788
53.      7291025    46403
54.      12205315   60614
55.      9803092    55414
56.      12533345   62045
57.      4528014    33495
58.      9454275    54884
59.      16760131   70693
60.      8925734    53193
61.      1739379    25139
62.      19739376   103893
63.      7101594    45038
64.      11660492   59598
65.      17460544   100571
66.      3465471    28491
67.      12174520   60529
68.      5099221    36163
69.      12342665   61121
70.      12382625   53966
71.      5205182    36520
72.      6409326    41009
73.      9229315    50041
74.      13567727   64549
75.      20300275   104602
76.      5132850    36312
77.      4477278    33298
78.      15730950   69161
79.      16694867   70411
80.      5786451    38484
81.      14640113   67826
82.      7291029    46404
83.      6409226    41017
84.      5254712    36720
85.      5132822    36311
86.      12174616   60526
87.      7101378    44924
88.      7419912    42498
89.      10103480   56173

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90.     7101442    34920
91.     6409266    41021
92.     5132862    36313
93.     9229465    54160
94.     4864184    35119
95.     12342425   61046
96.     8709335    52681
97.     4800694    34704
98.     8709127    52674
99.     6409238    34836
100.    13889122   65240
101.    8925850    53255
102.    7330670    46807
103.    4726350    34388
104.    4915298    35518
105.    8709087    50091
106.    5731691    34837
107.    14337531   66705
108.    9229300    50115
109.    12533207   57445
110.    6761517    42894
111.    8233798    51397
112.    16759921   70685
113.    14000224   65456
114.    14337315   66666
115.    16694531   70492
116.    5162240    36393
117.    7826112    49153
118.    4864108    35121
119.    18434399   101469
120.    8233738    45184
121.    12624942   62409
122.    5241248    36661
123.    6891288    43905
124.    4827439    34894
125.    14294370   66361
126.    6891204    43963
127.    14065939   65644
128.    7101526    44861
129.    4983649    35749
130.    14506728   67443
131.    5132898    36310
132.    18724128   101728
133.    20300323   104593
134.    11660498   59665
135.    12342767   61039

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136.    16760113   70700
137.    5062533    36029
138.    8049609    50327
139.    8709191    52677
140.    20300329   104608
141.    16694453   70387
142.    7068001    44915
143.    18434513   101465
144.    7290993    40507
145.    11660738   59670
146.    8992169    53394
147.    4983509    35750
148.    18434429   101467
149.    12203412   60537
150.    16985505   71198
151.    13216952   63631
152.    5062473    36030
153.    19739436   103903
154.    9388481    54759
155.    8233822    51353
156.    6108563    39590
157.    7828036    49159
158.    7656974    48493
159.    14640107   67784
160.    12415751   61340
161.    10908930   53902
162.    7001475    44546
163.    13216988   63695
164.    6761553    42900
165.    13567679   64542
166.    9803132    55412
167.    11331612   58912
168.    4310197    32382
169.    17460580   100524
170.    7101422    45039
171.    5205178    36521
172.    18434345   101471
173.    5205174    36559
174.    5014289    35841
175.    13216880   63699
176.    4228008    32013
177.    4672992    34127
178.    18434297   101441
179.    18434489   101426
180.    9454255    54899
181.    12650200   57433

                                 4
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182.    12650188   57489
183.    9803062    55417
184.    12174550   60525
185.    14065837   65657
186.    4827583    28196
187.    9803217    55470
188.    8925742    53175
189.    16694411   70400
190.    13490350   64250
191.    8233862    51405
192.    6948779    44240
193.    12533585   62066
194.    14506710   67476
195.    5360830    37029
196.    16760311   70670
197.    19739412   103906
198.    3875912    30164
199.    13806348   65040
200.    6891304    43921
201.    9482120    54901
202.    7825988    49136
203.    10908955   50100
204.    304775     15146
205.    5162260    36406
206.    4502963    33385
207.    9454270    54903
208.    8233742    45189
209.    7657070    48489
210.    12174514   60581
211.    6761461    42908
212.    5099169    36167
213.    12666601   62655
214.    19739484   103907
215.    10908950   54276
216.    9229580    54137
217.    18434393   101470
218.    12342137   61056
219.    7903010    49496
220.    6409198    41011
221.    12650410   62658
222.    16760041   70686
223.    14506776   67455
224.    14270203   66208
225.    5104887    36197
226.    12533597   62067
227.    7826052    49191

                                 5
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228.    12381899   61307
229.    12342107   61047
230.    12650428   62636
231.    16694327   70425
232.    9058866    53562
233.    7656986    48490
234.    9803157    55409
235.    13806330   65039
236.    12342155   61061
237.    8049665    50369
238.    16694891   70408
239.    8709207    52682
240.    12381719   57424
241.    9229310    50055
242.    7101574    45849
243.    13217006   63643
244.    7480156    47667
245.    14294568   66372
246.    5099193    36164
247.    9803177    55473
248.    6891268    43889
249.    5062529    36031
250.    3382311    27945
251.    12533663   62082
252.    12342599   57486
253.    19739460   103890
254.    6825435    43422
255.    8049653    50384
256.    10666594   53973
257.    9182762    53874
258.    12381695   57493
259.    11319444   58873
260.    12650248   62627
261.    8482062    52044
262.    5132870    36318
263.    8482078    51997
264.    5062493    36042
265.    8233786    40411
266.    8481990    52027
267.    4864192    35122
268.    10908960   58404
269.    19478888   103176
270.    18434369   101461
271.    6409202    41015
272.    9803077    55408
273.    16694807   70429

                                 6
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274.    6948899    44243
275.    7657106    48416
276.    9454290    54896
277.    13216676   63700
278.    4770429    34580
279.    18434531   101446
280.    5731679    34848
281.    6761473    42895
282.    10101324   56065
283.    12382613   61356
284.    10908965   53928
285.    6948827    44272
286.    19478708   103201
287.    15730914   69167
288.    7478124    47638
289.    9229290    50126
290.    5674059    34849
291.    7902918    49452
292.    8481978    51992
293.    13217060   63696
294.    18724008   101723
295.    7330650    46818
296.    8925778    53168
297.    8048994    49998
298.    13567817   64495
299.    4271269    32253
300.    12674456   62640
301.    6132778    39713
302.    14337225   66704
303.    7101506    45040
304.    9229475    54187
305.    9454250    54902
306.    7420044    47402
307.    8925810    53220
308.    6132762    39716
309.    4949635    35601
310.    4827559    34886
311.    5304436    36879
312.    5973074    39097
313.    4455436    33198
314.    4864100    35126
315.    19478792   103158
316.    7291021    40267
317.    4326892    32798
318.    9229450    54158
319.    16694369   70329

                                 7
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320.    5132874    36322
321.    4949683    35595
322.    8233858    51359
323.    4426102    33064
324.    9803127    55407
325.    12174736   53817
326.    13567691   64547
327.    12342215   61073
328.    4058431    30934
329.    18434483   101427
330.    16694339   70324
331.    12650578   62648
332.    5096972    36150
333.    7749469    48766
334.    12381689   57456
335.    18724158   101709
336.    7330690    46819
337.    20300581   104606
338.    7330618    46820
339.    7657006    48496
340.    8481998    52041
341.    4983501    35751
342.    16337638   69810
343.    7419932    42578
344.    7836956    49151
345.    4273106    32240
346.    6948735    44274
347.    4073342    30990
348.    12174484   60532
349.    10396925   56963
350.    14294454   66376
351.    8049505    40470
352.    7291065    46430
353.    10122310   56138
354.    16719009   70559
355.    16694441   70376
356.    12342851   61041
357.    8482114    51993
358.    9818950    55442
359.    14506704   67485
360.    5593971    35076
361.    12567725   62130
362.    5983399    37676
363.    19739424   103900
364.    9229320    50036
365.    10908980   58406

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366.    16694345   70407
367.    12650566   62639
368.    13806342   65042
369.    7902950    49438
370.    12174562   60528
371.    17460592   100526
372.    6409262    41013
373.    6984512    44505
374.    7330718    46795
375.    16760227   70696
376.    19739346   103857
377.    5014325    31295
378.    7101450    45041
379.    4770441    34564
380.    4827595    34900
381.    16694627   70365
382.    12674462   62653
383.    5593975    28233
384.    8709307    52683
385.    9454220    45141
386.    4917158    35519
387.    13568093   64532
388.    13216718   63636
389.    13130011   63472
390.    677522     17995
391.    14337483   66706
392.    5099189    36165
393.    7656958    48425
394.    4917182    35520
395.    7921972    49517
396.    9810903    55429
397.    13830355   65017
398.    15730686   69158
399.    7291097    46431
400.    12650434   62665
401.    7330630    46799
402.    13806528   65073
403.    4132792    31453
404.    7272342    46185
405.    20300293   104607
406.    17460502   100512
407.    6729316    42679
408.    8233794    40278
409.    7769511    48846
410.    14066197   65706
411.    8482038    52026

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412.    14294400   66417
413.    11660810   59658
414.    12566399   62100
415.    4949675    28247
416.    13806228   65034
417.    13409147   64104
418.    4116866    31364
419.    13340858   63967
420.    2765006    26894
421.    8925806    53209
422.    8049589    45268
423.    11660654   59672
424.    19739406   103891
425.    8482122    51994
426.    6891244    43894
427.    13567667   64490
428.    5014309    35842
429.    2890630    27460
430.    6640284    42028
431.    8481962    52048
432.    6132754    39717
433.    16718853   70364
434.    7290997    40259
435.    9454225    45102
436.    12650206   57451
437.    16760215   70655
438.    12342419   61007
439.    7330642    46805
440.    4983465    35752
441.    5241256    36656
442.    6891256    43890
443.    9454300    54876
444.    12382073   61390
445.    6948755    44275
446.    5014313    35843
447.    4358803    32659
448.    4983469    35753
449.    7101486    44888
450.    12419165   61362
451.    17460616   100562
452.    6948839    44278
453.    20300233   104604
454.    12382439   61323
455.    5674071    38217
456.    19739478   103858
457.    8482154    51995

                                 10
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458.    6891252    43922
459.    10103435   56180
460.    7656982    48405
461.    14294490   66460
462.    12650224   57440
463.    13216724   63688
464.    9454205    50050
465.    4983497    35754
466.    15730920   69166
467.    4475798    33288
468.    5062521    31387
469.    14294802   66377
470.    12382457   61365
471.    12533441   62105
472.    14294418   66298
473.    12650242   62619
474.    6948739    44249
475.    14506866   67449
476.    7101358    40416
477.    14295138   66495
478.    7826056    49142
479.    8233818    51366
480.    7330654    46796
481.    12567731   62123
482.    13806636   65086
483.    12382085   61387
484.    9454245    54898
485.    11098254   58672
486.    9229440    54197
487.    12174544   60531
488.    6948819    44283
489.    4827555    34887
490.    8529580    52160
491.    14547603   67548
492.    4986726    35802
493.    4349655    32618
494.    17460550   100566
495.    3941149    30426
496.    11660714   59637
497.    13806402   65043
498.    18434339   101425
499.    18434405   101462
500.    8709119    52684
501.    12174700   60534
502.    12342485   61082
503.    7826120    49056

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504.    5099133    36166
505.    7101430    45044
506.    13806390   65052
507.    7825992    49131
508.    7908392    49473
509.    6761449    42906
510.    5926484    38898
511.    20300341   104661
512.    10396920   56964
513.    3540006    28741
514.    9229430    54183
515.    7902982    49440
516.    12342119   57462
517.    4827455    34891
518.    6204390    39936
519.    4698071    34223
520.    7826028    49165
521.    7330622    46797
522.    12650218   57423
523.    4917074    31231
524.    4554942    33628
525.    10908945   53901
526.    5241280    36663
527.    16694429   70383
528.    14931312   68220
529.    13806288   65028
530.    8925746    53176
531.    11660576   59632
532.    13567829   64561
533.    5254708    36716
534.    19478510   103200
535.    10468676   55391
536.    12382685   61416
537.    6891300    43900
538.    641857     17721
539.    12650194   57439
540.    12678857   62657
541.    12174478   60536
542.    5014277    35844
543.    12382001   61320
544.    14337255   66734
545.    5228514    36629
546.    5205170    36560
547.    8049477    45145
548.    4916238    35521
549.    16985535   71212

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550.    13806522     65064
551.    6761573      37492
552.    7829348      49160
553.    7158065      45584
554.    8709215      52686
555.    12402546     61311
556.    7419956      47401
557.    1211293      23148
558.    5162244      36405
559.    13567973     64552
560.    16233584     69699
561.    19478852     103202
562.    13216700     63708
563.    14066077     65650
564.    7419924      47409
565.    5062489      36033
566.    4426114      33057
567.    872346       19930
568.    19478804     103157
569.    13568105     64596
570.    10908885     54016
571.    14310265     66532
572.    4917094      31246
573.    4949671      28251
574.    10908915     53959
575.    13567703     64488
576.    5731699      38336
577.    6948847      44279
578.    6365797      40821
579.    12382577     61322
580.    19478924     103222
581.    9229460      54159
582.    79121 2648
583.    12342683     61089
584.    16985427     71228
585.    13216970     63702
586.    7419952      47410
587.    12342179     61059
588.    7903082      49454
589.    19739400     103892
590.    16985631     71204
591.    7825976      49163
592.    11736936     59737
593.    14294628     66451
594.    10908895     49797
595.    14294646     66325

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596.    15730662   69175
597.    12342713   57515
598.    4917066    35523
599.    14294808   66382
600.    7291017    40506
601.    7330722    46836
602.    5241252    36667
603.    7657026    48396
604.    4983493    35755
605.    12349176   61203
606.    7330742    46801
607.    12607140   62263
608.    7656874    48403
609.    7101470    44925
610.    16694507   70460
611.    5062537    36034
612.    5593983    28323
613.    18724074   101726
614.    13567811   64568
615.    6891260    43911
616.    4800590    34725
617.    494338     16608
618.    7478132    47626
619.    11244793   58838
620.    5014285    35845
621.    4917058    35524
622.    6948915    44344
623.    7179667    45846
624.    16233518   69697
625.    18434351   101444
626.    19478744   103229
627.    12563525   62120
628.    4864092    35123
629.    6508547    41350
630.    12342113   61052
631.    6955068    44345
632.    5241260    36675
633.    17460472   100503
634.    8482006    51996
635.    4949607    35597
636.    4282772    32291
637.    5360826    37031
638.    16694543   70445
639.    11290018   58913
640.    14294742   66329
641.    16694465   70423

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642.    13568063   64586
643.    9454280    54865
644.    4611851    33915
645.    4916542    35525
646.    7903266    49527
647.    7656994    48385
648.    7330682    46837
649.    12533555   62084
650.    7419996    47411
651.    12382589   61313
652.    6640292    42025
653.    10908880   53913
654.    14174697   65933
655.    6948791    44280
656.    7905403    49500
657.    7330726    46838
658.    5205278    27249
659.    18723870   101722
660.    12174598   60516
661.    8049641    37686
662.    16233530   69690
663.    7291009    40272
664.    4611847    33916
665.    12382583   61338
666.    7101494    45045
667.    7101418    45047
668.    7101602    45049
669.    8049621    50378
670.    5014297    35847
671.    11676511   59605
672.    3740870    29440
673.    16694333   70401
674.    4116586    31357
675.    12394005   61254
676.    4917062    35526
677.    5983411    39134
678.    16233590   69689
679.    8709323    52687
680.    8049465    45151
681.    7904138    49514
682.    8049633    50365
683.    7291033    46406
684.    4030705    30790
685.    8233790    45108
686.    648982     17794
687.    8925762    53169

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688.    7915038    49508
689.    5986107    39115
690.    6948855    44282
691.    13216712   63703
692.    4637607    34020
693.    11098159   58667
694.    7101362    40253
695.    9454200    50066
696.    12348906   61181
697.    8090265    50569
698.    4356166    32686
699.    6948751    44242
700.    6891308    43887
701.    10908900   50053
702.    7291085    46402
703.    5134566    36319
704.    4915806    35527
705.    8233766    45110
706.    7330698    46800
707.    6409270    41020
708.    8709343    52594
709.    4099204    31114
710.    14294412   66332
711.    4949663    31223
712.    7605020    48145
713.    4653965    34064
714.    12650212   57454
715.    7825960    49190
716.    10634416   50213
717.    13806258   65084
718.    8482022    52045
719.    7101582    45050
720.    5623026    37993
721.    629286     17635
722.    8233878    51399
723.    16760287   70657
724.    6948879    44251
725.    12650536   62608
726.    12650314   62666
727.    9359749    54594
728.    8049677    50331
729.    15730644   69182
730.    9454285    54900
731.    7903110    49462
732.    14337591   66767
733.    4827551    34888

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734.    10103385   56156
735.    10666639   54001
736.    18724200   101712
737.    19478588   103226
738.    14506824   67490
739.    6891292    43906
740.    12533273   62075
741.    5014317    35849
742.    7291057    46432
743.    14030684   65560
744.    10103460   56165
745.    15730650   69195
746.    4770445    34565
747.    8233802    51166
748.    12382559   61371
749.    10666609   45194
750.    9454195    50069
751.    20300209   104560
752.    12174610   60518
753.    6722538    42615
754.    8233754    45112
755.    7291109    46457
756.    6948795    44244
757.    12650416   62656
758.    16759825   70625
759.    8049657    50364
760.    13568057   64578
761.    18723726   101741
762.    11660864   59659
763.    10103550   56183
764.    5674051    34862
765.    12650572   62625
766.    7419908    47399
767.    5786395    35239
768.    4949643    35596
769.    6765474    42901
770.    9229390    50122
771.    10103420   56187
772.    20300311   104576
773.    12382175   61373
774.    11290054   58910
775.    12381833   57545
776.    16694363   70466
777.    11660780   59638
778.    12545712   62122
779.    12533303   62056

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780.    10908975   58407
781.    11983609   60147
782.    6957875    44375
783.    10103365   53964
784.    4452791    33173
785.    6132774    39719
786.    14310259   66534
787.    7291081    46458
788.    10634976   57474
789.    8482086    52042
790.    12342299   54013
791.    13035174   63251
792.    6409210    41010
793.    10908925   50079
794.    8925722    53226
795.    7478152    47659
796.    9229400    50047
797.    7903206    49497
798.    15730872   69156
799.    7101498    40250
800.    7825940    49055
801.    10795044   58102
802.    7101366    37728
803.    5288502    36825
804.    12342833   61150
805.    10128637   56148
806.    7419928    47297
807.    18434333   101472
808.    12559918   62089
809.    7330694    46802
810.    6948887    44241
811.    10908940   54019
812.    4583123    33739
813.    6761497    42893
814.    14506848   67438
815.    7291049    46408
816.    15730866   69160
817.    4949667    28263
818.    9454190    50123
819.    7291053    46429
820.    13806456   65099
821.    9454215    45203
822.    14295006   66591
823.    12672818   62674
824.    5926488    38944
825.    20300443   104648

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826.    4827443    34889
827.    4827459    34892
828.    12381731   61380
829.    5062465    36026
830.    5099097    36173
831.    6761509    42907
832.    13806606   65038
833.    6783346    43135
834.    15730938   69179
835.    14066161   65705
836.    8049577    50275
837.    12174652   60533
838.    5241284    36674
839.    19739364   103894
840.    3900101    30264
841.    5132854    36317
842.    10666574   53907
843.    12382565   62087
844.    14065735   65645
845.    7825964    49135
846.    4502955    33386
847.    14065765   65646
848.    12174634   60565
849.    6891272    43910
850.    14639975   67774
851.    7826060    49183
852.    7657010    48384
853.    9229405    50037
854.    11660558   59664
855.    3687866    29173
856.    6041666    39350
857.    6761501    42910
858.    14295114   66567
859.    4917098    31214
860.    12650602   62635
861.    16233512   69692
862.    3654231    29094
863.    12381707   57431
864.    6041662    39349
865.    7330674    46803
866.    12382379   61309
867.    12342569   61128
868.    12650236   62621
869.    15730848   69121
870.    4983521    35757
871.    6845171    43608

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872.    8482170    52012
873.    4116830    31347
874.    3384677    28128
875.    10090428   56102
876.    7291073    46433
877.    6948835    44248
878.    16985493   71214
879.    7478148    47661
880.    13806252   65050
881.    4770449    34561
882.    7419972    47296
883.    7419960    47295
884.    4625260    33968
885.    12342293   61076
886.    19478894   103168
887.    14065729   65689
888.    9229715    54191
889.    4585824    33793
890.    20300485   104605
891.    16985439   71218
892.    7419976    47396
893.    8233866    51360
894.    3878433    30163
895.    14337489   66710
896.    16694321   70355
897.    5537168    36962
898.    14640071   67796
899.    7654685    48386
900.    816597     19424
901.    20300299   104610
902.    16759999   70674
903.    4726354    34399
904.    14506722   67469
905.    8925826    53223
906.    19739466   103905
907.    11660696   59641
908.    18724134   101725
909.    7657038    48397
910.    10396930   56962
911.    5014301    35851
912.    5014441    22451
913.    5116940    36254
914.    9229335    50052
915.    14337495   66746
916.    10666634   57717
917.    12533513   62074

                                 20
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918.    9803067    55467
919.    5062469    36035
920.    11829870   59859
921.    15730986   69210
922.    5132878    36326
923.    19739394   103879
924.    7438999    47299
925.    12545040   61908
926.    6948787    44284
927.    8709223    52615
928.    12180744   40847
929.    4148168    31647
930.    739782     18625
931.    8049585    50334
932.    10103545   56184
933.    19478858   103156
934.    12533609   62124
935.    11660564   59643
936.    16764835   70733
937.    16694513   70434
938.    10908905   50140
939.    11660786   59645
940.    12174526   60578
941.    5132890    36315
942.    5786399    34916
943.    5062481    36036
944.    8049617    50370
945.    16694549   70567
946.    12673292   62632
947.    18434423   101451
948.    7656882    48395
949.    8233806    51368
950.    14065987   65641
951.    7825952    49182
952.    16233632   69693
953.    11660438   57514
954.    7330666    46815
955.    20300365   104603
956.    8709331    52616
957.    8233830    51395
958.    12342125   61049
959.    10666624   53991
960.    18723852   101736
961.    16233566   69680
962.    6761445    42890
963.    18724056   101720

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964.    12382727   61379
965.    16694357   70440
966.    6761477    42891
967.    13216904   63686
968.    10666599   50863
969.    12174628   60570
970.    8317529    51542
971.    15225846   68533
972.    8233834    51352
973.    7291005    40255
974.    16233620   69682
975.    5099113    36171
976.    13216862   63684
977.    4864088    35125
978.    16694711   70427
979.    6891236    43961
980.    12382145   61370
981.    7330730    46827
982.    4726362    34403
983.    7656970    48392
984.    7495497    47664
985.    4698067    34225
986.    10103440   56181
987.    7291041    46407
988.    5062485    36038
989.    12381701   57518
990.    2392351    26421
991.    9229435    54208
992.    4983545    35758
993.    10666589   53998
994.    13567949   64567
995.    8233774    45123
996.    9229325    45066
997.    10666604   54771
998.    10103555   56179
999.    12342395   61137
1000.   9229285    50133
1001.   7826128    49184
1002.   16985529   71194
1003.   15730932   69209
1004.   4827567    34879
1005.   9229305    50105
1006.   4983473    35787
1007.   8233846    51400
1008.   7657018    48393
1009.   11660858   59629

                                 22
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1010.   10666644   57718
1011.   11660690   59614
1012.   12650530   62638
1013.   8482166    52000
1014.   10666649   57719
1015.   8925830    53251
1016.   8049637    50351
1017.   14294436   66348
1018.   6761481    42905
1019.   4295524    32365
1020.   14337279   66732
1021.   14065879   65702
1022.   4864164    35128
1023.   14294472   66350
1024.   13806336   65046
1025.   8049649    50352
1026.   12342167   61062
1027.   4983533    31392
1028.   12533675   62081
1029.   6891248    43903
1030.   6891296    43898
1031.   16759939   70632
1032.   12382391   61314
1033.   8481986    52032
1034.   12650254   57422
1035.   4983481    35790
1036.   12174604   60563
1037.   9807772    55430
1038.   13546671   64341
1039.   7419916    28315
1040.   4770453    34566
1041.   4044409    30835
1042.   10666654   57720
1043.   7419988    47397
1044.   14639939   67759
1045.   12650332   62660
1046.   17460574   100496
1047.   4021655    30709
1048.   5099109    36178
1049.   8049457    40395
1050.   8925738    53221
1051.   10372267   56701
1052.   18434357   101443
1053.   9454230    45064
1054.   4949611    35602
1055.   7903122    49515

                                 23
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1056.   7330638    46828
1057.   16694399   70404
1058.   6948803    44247
1059.   5241288    36673
1060.   11795647   59872
1061.   9229425    54181
1062.   12533687   62115
1063.   15730812   69146
1064.   8233838    51306
1065.   7825956    49144
1066.   15769045   69211
1067.   5162276    36408
1068.   3683535    29150
1069.   4583127    33738
1070.   4949679    15167
1071.   14065741   65685
1072.   19478666   103227
1073.   5510677    37360
1074.   6891216    43960
1075.   13806360   65044
1076.   14337243   66648
1077.   8049645    50374
1078.   5132866    36323
1079.   14066203   65667
1080.   466291     16437
1081.   9455555    54885
1082.   6948747    44245
1083.   4116554    31345
1084.   7101522    44889
1085.   4295544    32363
1086.   7291077    46434
1087.   11660888   59644
1088.   12342593   61087
1089.   14294712   66500
1090.   12794155   62878
1091.   16233662   69694
1092.   14294586   66458
1093.   8709135    52625
1094.   14639927   67761
1095.   7478116    47637
1096.   12533693   62111
1097.   12382505   61332
1098.   10103375   56161
1099.   5104722    36191
1100.   7478128    47628
1101.   5162236    36410

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1102.   4504920    33394
1103.   4554946    33636
1104.   15730908   69171
1105.   9229420    54174
1106.   4917186    35530
1107.   4194994    31863
1108.   6948859    44253
1109.   7420048    47398
1110.   12381863   57432
1111.   17460634   100528
1112.   12342335   61027
1113.   14337303   66707
1114.   4983513    35796
1115.   7330662    46839
1116.   4983477    35799
1117.   4800690    31099
1118.   5014269    35852
1119.   5062541    36037
1120.   5099177    36174
1121.   4313763    32447
1122.   10908920   53967
1123.   4371705    32800
1124.   12533633   62057
1125.   16985517   71195
1126.   8925854    53260
1127.   14337567   66709
1128.   14640101   67795
1129.   7291061    40903
1130.   16694615   70568
1131.   13806276   65105
1132.   12533339   62128
1133.   8117070    50748
1134.   14294424   66386
1135.   7657022    48394
1136.   13216736   63642
1137.   4983517    35798
1138.   8482094    51987
1139.   16760209   70678
1140.   12566393   62125
1141.   18434375   101445
1142.   12925614   63086
1143.   7291069    46436
1144.   19478882   103128
1145.   19478864   103259
1146.   5162280    36411
1147.   5674063    28204

                                 25
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1148.   9803207    55471
1149.   6132750    39720
1150.   8049525    50375
1151.   8215586    52108
1152.   4371729    32794
1153.   12382079   61385
1154.   8233882    51396
1155.   9915007    55614
1156.   6132794    39722
1157.   6948807    44254
1158.   7495493    47666
1159.   8709103    52619
1160.   10103425   56185
1161.   4864112    35117
1162.   3713483    29272
1163.   8925790    53254
1164.   6409274    41018
1165.   6409386    41023
1166.   4864172    35127
1167.   14640011   67773
1168.   8482046    52049
1169.   12382097   57547
1170.   12174580   60548
1171.   8482018    52051
1172.   14640035   67766
1173.   13129837   63510
1174.   5099125    36175
1175.   12184681   60552
1176.   19739442   103904
1177.   9454265    54895
1178.   7291149    46437
1179.   7421908    37706
1180.   8049629    50376
1181.   12533519   62097
1182.   4864160    31318
1183.   7949235    49604
1184.   5014329    35854
1185.   7101370    34925
1186.   7420056    47287
1187.   7347767    46843
1188.   14066107   65678
1189.   4949623    35600
1190.   5099173    36168
1191.   12342383   61078
1192.   4897720    35465
1193.   8049709    49881

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1194.   12382415   61374
1195.   13928554   65418
1196.   20300623   104575
1197.   7922888    49521
1198.   5205226    36555
1199.   4864176    35129
1200.   5099213    36189
1201.   6891212    43959
1202.   4528026    33511
1203.   6041670    27154
1204.   4917178    35549
1205.   5099185    36177
1206.   15731016   69142
1207.   12174664   60521
1208.   8233770    45160
1209.   7749493    48800
1210.   9229355    50277
1211.   12650260   62612
1212.   5622942    35257
1213.   9803197    55472
1214.   14065945   65647
1215.   8233826    51350
1216.   13568159   64566
1217.   18434327   101478
1218.   12342149   61060
1219.   8233782    45164
1220.   5537180    36977
1221.   10908970   54003
1222.   7330626    46840
1223.   8233850    51398
1224.   7825984    49150
1225.   15730782   69191
1226.   6713325    42559
1227.   7291037    46428
1228.   7330738    46841
1229.   7670495    48492
1230.   8233874    51168
1231.   8233746    45177
1232.   4583135    33794
1233.   7499550    47662
1234.   5241304    36672
1235.   14294538   66388
1236.   12533315   62129
1237.   7101394    45052
1238.   5304148    36881
1239.   4099492    31129

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1240.   16985421   71231
1241.   8709063    45511
1242.   17460520   100549
1243.   18434363   101477
1244.   14337573   66680
1245.   6948743    44252
1246.   3900173    30263
1247.   16760221   70675
1248.   18434477   101454
1249.   8482002    51986
1250.   12342197   57893
1251.   13806354   65047
1252.   7330710    46831
1253.   11660882   59616
1254.   15730794   69202
1255.   7101586    45383
1256.   7826104    49147
1257.   5162264    36412
1258.   4949647    35657
1259.   6891264    43892
1260.   7330746    46832
1261.   13216694   63632
1262.   5887900    38771
1263.   13216730   63633
1264.   12342263   61022
1265.   7034552    44734
1266.   7480164    47668
1267.   19739352   103877
1268.   14337297   66665
1269.   19739472   103872
1270.   8925730    53227
1271.   1403384    24113
1272.   7657030    48406
1273.   14066185   65659
1274.   12650230   62667
1275.   19478918   103203
1276.   16985523   71215
1277.   8196618    51170
1278.   16233608   69683
1279.   17460532   100488
1280.   8482054    25909
1281.   8049613    50373
1282.   12666595   62663
1283.   12382091   61334
1284.   5062545    36039
1285.   4864076    35131

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1286.   7101618     45384
1287.   5731683     34831
1288.   4983537     28232
1289.   16760203    70639
1290.   7419948     47420
1291.   13806474    65062
1292.   8049605     50366
1293.   20300359    104663
1294.   8925802     53259
1295.   8049509     50320
1296.   16694351    70388
1297.   7101466     45053
1298.   7420064     47286
1299.   6722562     42665
1300.   17460568    100487
1301.   8233842     51390
1302.   5014281     35857
1303.   13216814    63635
1304.   4917086     35532
1305.   9229470     54177
1306.   7657114     48494
1307.   10768319    58054
1308.   12598085    62305
1309.   14294382    66394
1310.   7420040     47284
1311.   4921187     35517
1312.   7903238     49513
1313.   7330734     46834
1314.   6041658     39348
1315.   5674067     38216
1316.   13216910    63653
1317.   12382679    61335
1318.   12533621    62092
1319.   20300479    104592
1320.   13567877    64555
1321.   12174508    60564
1322.   8049469     45137
1323.   16985499    71200
1324.   15730638    69194
1325.   7291089     46435
1326.   18724104    101724
1327.   4949639     35660
1328.   9058896     51691
1329.   7420032     47285
1330.   5062525     36040
1331.   7657014     48426

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1332.   12342545    61130
1333.   3394203     28131
1334.   7826124     49192
1335.   19478450    103167
1336.   8925794     53258
1337.   9229360     50128
1338.   7101514     45054
1339.   12342203    61058
1340.   10640049    57602
1341.   12650266    62672
1342.   13806444    65049
1343.   6640288     42029
1344.   13490368    64258
1345.   4937653     35580
1346.   6948851     44250
1347.   7430258     47329
1348.   3865971     30067
1349.   7657034     48408
1350.   4134620     31436
1351.   4668535     34112
1352.   16759837    70649
1353.   4698075     34226
1354.   8709131     52693
1355.   4430211     33074
1356.   8049597     49883
1357.   4371693     32778
1358.   8482138     52001
1359.   7419964     47331
1360.   4949631     35663
1361.   10666579    53914
1362.   16233656    69716
1363.   5162272     36413
1364.   9229455     54179
1365.   20300245    104625
1366.   7330634     46833
1367.   7101462     44892
1368.   6108615     39601
1369.   11660894    59668
1370.   6937386     44210
1371.   16694459    70385
1372.   5062497     36041
1373.   11660924    59652
1374.   10103485    56175
1375.   12382133    61310
1376.   9803222     55474
1377.   13216958    63725

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1378.   9818355     55459
1379.   10666569    53970
1380.   13217012    63719
1381.   8049553     49891
1382.   5014321     35858
1383.   14294532    66351




                                  31
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             EXHIBIT H
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Settlement Allocation Formula Based on Plaintiffs’ Damages Claims – For Distribution of

Settlement Fund Purposes Only


    1. From the total settlement, the following sums are deducted:

              a. approved fees

              b. approved service payments

              c. approved costs, including Claims Administration

    2. The remainder is distributed to Qualified Class Members on a pro rata basis to their

         individual claim amount.

    3. Qualified Class Members’ individual claim amount is based on badge hours1 plus 5 per

         week and their individual payroll records (salary plus bonus).
              a.
                   Intraday badge out periods of 30 minutes or greater are treated as non-work

                   periods.

    4. Weekly overtime hours are the weekly badge hours plus 5 hours minus 40.

    5. Weekly pay is equal to salary plus bonus.2

    6. The regular rate for salary is equal to the weekly salary divided by 40.

    7. The regular rate for bonus is the weekly bonus divided by the total hours worked in that

         week.

    8. The overtime rate is the regular rate for salary multiplied by 1.5 plus the regular rate for

         bonus multiplied by one half (.5).

    9. FLSA overtime earnings due for each Plaintiff are calculated:




1
  Aberrations and gaps in the badge data for any given day are addressed using Out Code data and estimates that use the class-
wide averages of NY and CA Daily Adjusted work hours.
2
  The annual bonus is divided by 52 to obtain the weekly bonus for each preceding week.

                                                               1
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       a. For the period of three years prior to the filing of any Consent to Sue by such

          individual.

       b. FLSA overtime earnings equals the overtime hours multiplied by the overtime

          rate each week.

       c. FLSA liquidated damages equal the FLSA overtime earnings each week.

       d. Each Plaintiff’s FLSA damages are the sum of damages in all weeks within the

          FLSA limitation period plus their non-duplicative NY or CA class damages, if

          any.

10. New York overtime, liquidated damages, and prejudgment interest for each Qualified

   Class Member working in New York are calculated for the period extending back six

   years from April 14, 2014 (the filing of the complaint) through December 30, 2017.

       a. NY overtime back pay equals the weekly overtime hours multiplied by the

          overtime rate.

       b. For each week worked before April 9, 2011 within the NY limitation period, NY

          liquidated damages equals 25% of NY overtime back pay.

       c. For each week on or after April 9, 2011 within the NY limitation period,

          excluding such weeks when FLSA liquidated damages are calculated, NY

          liquidated damages equals 100% of NY overtime back pay.

       d. For each week within the NY limitation period, NY prejudgment interest is

          computed at the simple annual rate of 9% of the NY overtime back pay damages.

       e. Each New York Qualified Class Member’s damages are the sum of all damages

          within the NY limitation period.




                                             2
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       11. California overtime and prejudgment interest for each Qualified Class Member working

            in California is calculated for the period extending four years prior to December 3, 2015

            through December 30, 2017.

                 a.    CA overtime back pay equals the weekly overtime hours multiplied by the

                      applicable overtime rate, as follows:

                            i. Weekly overtime as calculated for all FLSA and NY Qualified Class

                                 Members,

                            ii. Daily overtime for any badge hours in a given day that are greater than 8

                                 but no greater than 12.

                          iii. Daily double-time overtime3 for any badge hours in a given day that are

                                 greater than 12.

                           iv. California overtime totals are adjusted to avoid double counting between

                                 daily and weekly overtime hours.

                 b. California Pre-Judgment Interest Damages are computed at the simple annual rate

                      of 10% from the week ending date until the latest date of the calculations.

                 c. California Waiting Period Damages are calculated for all terminated California

                      Qualified Class Members by multiplying the class member’s daily pay rate times

                      30.

                 d. Each California Qualified Class Member’s damages are the sum of damages in all

                      weeks within the California limitation period.

       12. Excluded from the calculation of damages are highly compensated individuals and work

            performed out of the United States.



3
    Double time overtime rate equals the regular rate for salary multiplied by 2 plus the regular rate for bonus multiplied by 1.

                                                                    3
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13. Each Qualified Class Member’s damages are subject to litigation risk factors as follows:

       a. New York claims and FLSA claims for Qualified Class Members situated in New

           York are calculated using both the time and one half method (as described above)

           and the half time method (salary treated in the same manner as bonus) and their

           claim value is adjusted to 75% time and one half and 25% using the half time

           method.

       b. Plaintiffs receive an additional enhancement of 10%.

14. For Qualified Class Members employed in Analytics positions covered by the litigation

   in weeks ending on dates after December 30, 2017 and through to the date of the signing

   of the settlement agreement (“the post-December 30, 2017 period”), damages will be

   extrapolated using the 2017 class-wide averages of NY and CA weekly class damages

   respectively.

15. Each Qualified Class Member’s individual damages are summed, excluding duplicative

   tallies, and prorated to the net settlement sum for distribution.




                                             4
